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                          12
                                                      UNITED STATES DISTRICT COURT
                          13
                                               FOR THE CENTRAL DISTRICT OF CALIFORNIA
                          14

                          15
                                   UNITED STATES OF AMERICA ex             CASE NO. 2:16-cv-08697-MWF-SSx
                          16       rel. BENJAMIN POEHLING,
                          17                      Plaintiff,               UNITEDHEALTH’S ANSWER TO
                                                                           UNITED STATES’ AMENDED
                          18             v.                                COMPLAINT-IN-PARTIAL-
                                                                           INTERVENTION AND
                          19       UNITEDHEALTH GROUP, INC. et             COUNTERCLAIM
                                   al.,
                          20
                                                  Defendants.
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ATTORNEYS AT LAW
                                                                            UNITEDHEALTH’S ANSWER TO UNITED STATES’
W A S H I N G T O N , D .C .                                                         AMENDED COMPLAINT-IN-PARTIAL-
                                                                                    INTERVENTION AND COUNTERCLAIM
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                               1         Having filed a notice of intervention pursuant to 31 U.S.C. § 3730(b)(4), the
                               2   United States alleges in its Amended Complaint-In-Partial-Intervention and
                               3   Demand for Jury Trial (the “Government’s Amended Complaint” or “Amended
                               4   Complaint”) the allegations below. Defendants UnitedHealth Group Incorporated,
                               5   United HealthCare Services, Inc., UnitedHealthcare, Inc., UnitedHealthcare
                               6   Insurance Company, Ovations, Inc., Optum, Inc., OptumInsight, Inc.,
                               7   AmeriChoice of New Jersey, Inc., AmeriChoice of New York, Inc., Arizona
                               8   Physicians IPA, Inc., Care Improvement Plus of Maryland, Inc., Care
                               9   Improvement Plus of Texas Insurance Company, Care Improvement Plus South
                          10       Central Insurance Company, Care Improvement Plus Wisconsin Insurance
                          11       Company, Optum Insurance Co., Citrus Health Care, Inc., Health Plan of Nevada,
                          12       Inc., Medica HealthCare Plans, Inc., Oxford Health Plans (CT), Inc., Oxford
                          13       Health Plans (NJ), Inc., Oxford Health Plans (NY), Inc., PacifiCare Life and
                          14       Health Insurance Company, PacifiCare of Arizona, Inc., PacifiCare of Colorado,
                          15       Inc., PacifiCare of Nevada, Inc., Physicians Health Choice of Texas, LLC,
                          16       Preferred Care Partners, Inc., Rocky Mountain Health Maintenance Organization,
                          17       Incorporated, Sierra Health and Life Insurance Company, Inc., Symphonix Health
                          18       Insurance, Inc., UHC of California (f.k.a. PacifiCare of California), United Health
                          19       Care Ins. Co. and United New York, Unison Health Plan of Tennessee, Inc.,
                          20       UnitedHealthcare Benefits of Texas, Inc. (f.k.a. PacifiCare of Texas, Inc.),
                          21       UnitedHealthcare Community Plan of Ohio, Inc. (f.k.a. Unison Health Plan of
                          22       Ohio, Inc.), UnitedHealthcare Community Plan of Texas, L.L.C. (f.k.a. Evercare of
                          23       Texas, L.L.C.), UnitedHealthcare Community Plan, Inc. (f.k.a. UnitedHealthcare
                          24       of the Great Lakes Health Plan, Inc.), UnitedHealthcare Insurance Company of
                          25       New York, UnitedHealthcare of Alabama, Inc., UnitedHealthcare of Arizona, Inc.,
                          26       UnitedHealthcare of Arkansas, Inc., UnitedHealthcare of Florida, Inc.,
                          27       UnitedHealthcare of Georgia, Inc., UnitedHealthcare of New England, Inc.,
                          28       UnitedHealthcare of New York, Inc., UnitedHealthcare of North Carolina, Inc.,
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ATTORNEYS AT LAW
                                                                                UNITEDHEALTH’S ANSWER TO UNITED STATES’
W A S H I N G T O N , D .C .                                                             AMENDED COMPLAINT-IN-PARTIAL-
                                                                                        INTERVENTION AND COUNTERCLAIM
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                               1   UnitedHealthcare of Ohio, Inc., UnitedHealthcare of Oklahoma, Inc. (f.k.a.
                               2   PacifiCare of Oklahoma, Inc.), UnitedHealthcare of Oregon, Inc. (f.k.a. PacifiCare
                               3   of Oregon, Inc.), UnitedHealthcare of Pennsylvania, Inc. (f.k.a. Unison Health Plan
                               4   of Pennsylvania, Inc.), UnitedHealthcare of Tennessee, Inc., UnitedHealthcare of
                               5   the Midlands, Inc., UnitedHealthcare of the Midwest, Inc., UnitedHealthcare of
                               6   Utah, Inc., UnitedHealthcare of Washington, Inc. (f.k.a. PacifiCare of Washington,
                               7   Inc.), UnitedHealthcare of Wisconsin, Inc., and UnitedHealthcare Plan of the River
                               8   Valley, Inc. (collectively, “UnitedHealth”) generally deny each and every
                               9   allegation except those hereinafter specifically admitted.
                          10             On February 2, 2018, the Court granted in part and denied in part the
                          11       UnitedHealth Defendants’ motion to dismiss. Dkt. 212. This Order dismissed,
                          12       with leave to amend, the Government’s Second, Third, and Fourth Claims for
                          13       Relief. On February 26, 2018, the Government notified the Court and the parties
                          14       that it had “elected not to file a Second Amended Complaint-in-Intervention in this
                          15       action.” Dkt. 217 at 2. Therefore, the only surviving claims against the
                          16       UnitedHealth Defendants are the First, Fifth, and Sixth Claims for Relief. There
                          17       are many allegations that clearly relate to the dismissed claims that are now
                          18       surplusage and do not require a response. Notwithstanding that and while
                          19       preserving all of its rights, UnitedHealth denies claims or allegations that do not
                          20       relate to the Government’s First, Fifth, and Sixth Claims for Relief. UnitedHealth
                          21       further answers the numbered paragraphs as follows:
                          22                                       INTRODUCTION
                          23             1.     Paragraph 1 contains no allegations with respect to a particular
                          24       Defendant or claim, and therefore no response is required. However, to the extent
                          25       Paragraph 1 purports to summarize and/or describe the provisions of the Medicare
                          26       program, UnitedHealth states that the Medicare statute and regulations speak for
                          27       themselves, and to the extent that the allegations in Paragraph 1 vary therefrom or
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ATTORNEYS AT LAW
                                                                                  UNITEDHEALTH’S ANSWER TO UNITED STATES’
W A S H I N G T O N , D .C .                                                               AMENDED COMPLAINT-IN-PARTIAL-
                                                                                          INTERVENTION AND COUNTERCLAIM
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                               1   with other applicable statutory or decisional law, UnitedHealth denies those
                               2   allegations.
                               3         2.       Paragraph 2 contains no allegations with respect to a particular
                               4   Defendant or claim, and therefore no response is required. However, to the extent
                               5   Paragraph 2 purports to summarize and/or describe the provisions of the Medicare
                               6   program, UnitedHealth states that the Medicare statute and regulations speak for
                               7   themselves, and to the extent that the allegations in Paragraph 2 vary therefrom or
                               8   with other applicable statutory or decisional law, UnitedHealth denies those
                               9   allegations.
                          10             3.       Paragraph 3 contains no allegations with respect to a particular
                          11       Defendant or claim, and therefore no response is required. However, to the extent
                          12       Paragraph 3 purports to summarize and/or describe the provisions of the Medicare
                          13       program, UnitedHealth states that the Medicare statute and regulations speak for
                          14       themselves, and to the extent that the allegations in Paragraph 3 vary therefrom or
                          15       with other applicable statutory or decisional law, UnitedHealth denies those
                          16       allegations.
                          17             4.       Paragraph 4 contains no allegations with respect to a particular
                          18       Defendant or claim, and therefore no response is required. However, to the extent
                          19       Paragraph 4 purports to summarize and/or describe the provisions of the Medicare
                          20       program, UnitedHealth states that the Medicare statute and regulations speak for
                          21       themselves, and to the extent that the allegations in Paragraph 4 vary therefrom or
                          22       with other applicable statutory or decisional law, UnitedHealth denies those
                          23       allegations.
                          24             5.       Paragraph 5 contains no allegations with respect to a particular
                          25       Defendant or claim, and therefore no response is required. However, to the extent
                          26       Paragraph 5 purports to summarize and/or describe the provisions of the Medicare
                          27       program, UnitedHealth states that the Medicare statute and regulations speak for
                          28       themselves, and to the extent that the allegations in Paragraph 5 vary therefrom or
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ATTORNEYS AT LAW
                                                                                  UNITEDHEALTH’S ANSWER TO UNITED STATES’
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                               1   with other applicable statutory or decisional law, UnitedHealth denies those
                               2   allegations.
                               3         6.       To the extent that Paragraph 6 contains legal conclusions, no response
                               4   is required. Paragraph 6 contains no allegations with respect to a particular
                               5   Defendant or claim, and therefore no response is required. However, to the extent
                               6   Paragraph 6 purports to summarize and/or describe the provisions of the Medicare
                               7   program or the Ninth Circuit’s order in United States ex rel. Swoben v.
                               8   UnitedHealthcare Ins. Co., 848 F.3d 1161 (9th Cir. 2016), UnitedHealth states that
                               9   the Medicare regulations and the order speak for themselves, and to the extent that
                          10       the allegations in Paragraph 6 vary therefrom or with other applicable statutory or
                          11       decisional law, UnitedHealth denies those allegations.
                          12             7.       UnitedHealth admits that for many years, UnitedHealth Group
                          13       Incorporated has owned Medicare Advantage (“MA”) Organizations that have
                          14       enrolled more MA beneficiaries than any other entity, and offers Medicare
                          15       Advantage Plans (“MA Plans”) and prescription drug plans (“PD Plans”) to
                          16       millions of elderly and disabled Medicare beneficiaries throughout the United
                          17       States. UnitedHealth also admits that in or around March 2017, approximately
                          18       229,000 Medicare beneficiaries in the Central District of California were enrolled
                          19       in MA Plans offered by UHC of California and Sierra Health and Life Insurance
                          20       Company, Inc. UnitedHealth denies the remaining allegations in Paragraph 7.
                          21             8.       Paragraph 8 refers to the Complaint, a legal document, which speaks
                          22       for itself and to which no response is required. UnitedHealth denies the remaining
                          23       allegations in Paragraph 8.
                          24             9.       UnitedHealth admits that some of the UnitedHealth Defendants
                          25       collectively received billions of dollars from the Medicare program each year in
                          26       relation to the Medicare beneficiaries enrolled in the Defendant MA
                          27       Organizations’ Plans. UnitedHealth admits that certain Defendants conducted
                          28       programs and engaged in activities designed to improve the completeness of risk
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ATTORNEYS AT LAW
                                                                                 UNITEDHEALTH’S ANSWER TO UNITED STATES’
W A S H I N G T O N , D .C .                                                              AMENDED COMPLAINT-IN-PARTIAL-
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                               1   adjustment data submitted on behalf of Defendant MA Organizations.
                               2   UnitedHealth denies the remaining allegations in Paragraph 9.
                               3         10.    UnitedHealth admits that certain Defendants have conducted a Chart
                               4   Review Program since in or about 2005. UnitedHealth admits that this program
                               5   improved the completeness of risk adjustment data submitted for Defendant MA
                               6   Organizations and that risk adjustment payments increased as a result.
                               7   UnitedHealth denies the remaining allegations in Paragraph 10.
                               8         11.    To the extent that Paragraph 11 contains legal conclusions, no
                               9   response is required. UnitedHealth denies the remaining allegations in Paragraph
                          10       11.
                          11             12.    To the extent that Paragraph 12 contains legal conclusions, no
                          12       response is required. UnitedHealth denies the remaining allegations in Paragraph
                          13       12.
                          14             13.    To the extent that Paragraph 13 contains legal conclusions, no
                          15       response is required. UnitedHealth is without knowledge or information sufficient
                          16       to form a belief as to the truth or falsity of the Government’s estimations.
                          17       UnitedHealth denies the remaining allegations in Paragraph 13.
                          18             14.    To the extent the allegations in Paragraph 14 relate to claims that have
                          19       been dismissed, they are surplusage and should be stricken. Paragraph 14 states
                          20       legal conclusions to which no response is required. To the extent that Paragraph
                          21       14 contains any factual allegations regarding UnitedHealth, such allegations are
                          22       denied.
                          23             15.    Paragraph 15 states legal conclusions to which no response is
                          24       required. To the extent that Paragraph 15 contains any factual allegations
                          25       regarding UnitedHealth, such allegations are denied.
                          26             16.    UnitedHealth admits that some of the UnitedHealth Defendants paid
                          27       some of its provider groups on a capitated basis and others on a fee-for-service
                          28       basis. UnitedHealth also admits that some of the UnitedHealth Defendants entered
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ATTORNEYS AT LAW
                                                                                 UNITEDHEALTH’S ANSWER TO UNITED STATES’
W A S H I N G T O N , D .C .                                                              AMENDED COMPLAINT-IN-PARTIAL-
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                               1   into value-based agreements with some of its fee-for-service providers.
                               2   UnitedHealth denies the remaining allegations in Paragraph 16.
                               3         17.    UnitedHealth admits that pursuant to some of the UnitedHealth
                               4   Defendants’ contractual arrangements with capitated and certain other providers,
                               5   some of the UnitedHealth Defendants paid a percentage share of the payments that
                               6   some of the UnitedHealth Defendants received from the Medicare Program for the
                               7   beneficiaries under those providers’ care. UnitedHealth denies the remaining
                               8   allegations in Paragraph 17.
                               9         18.    Paragraph 18 states legal conclusions to which no response is
                          10       required. UnitedHealth denies the remaining allegations in Paragraph 18.
                          11                                JURISDICTION AND VENUE
                          12             19.    Paragraph 19 states legal conclusions to which no response is
                          13       required.
                          14             20.    Paragraph 20 states legal conclusions to which no response is
                          15       required. To the extent a response is required, UnitedHealth admits that at least
                          16       one of the Defendants transacts business in the Central District of California.
                          17             21.    Paragraph 21 states legal conclusions to which no response is
                          18       required. To the extent a response is required, UnitedHealth admits that at least
                          19       one of the Defendants can be found in, resides in, and transacts business in this
                          20       District. UnitedHealth denies the remaining allegations in Paragraph 21.
                          21                                            PARTIES
                          22       I.    Plaintiffs
                          23             22.    Paragraph 22 refers to the Complaint, a legal document, which speaks
                          24       for itself and to which no response is required. To the extent Paragraph 22
                          25       purports to summarize and/or describe the provisions of the Medicare program,
                          26       UnitedHealth states that the Medicare statute and regulations speak for themselves,
                          27       and to the extent that the allegations in Paragraph 22 vary therefrom or with other
                          28       applicable statutory or decisional law, UnitedHealth denies those allegations.
                                                                             7
ATTORNEYS AT LAW
                                                                                UNITEDHEALTH’S ANSWER TO UNITED STATES’
W A S H I N G T O N , D .C .                                                             AMENDED COMPLAINT-IN-PARTIAL-
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                               1   UnitedHealth admits that the United States filed its notice of partial intervention in
                               2   this action on February 14, 2017.
                               3         23.    UnitedHealth admits that the qui tam plaintiff (“Relator”), Benjamin
                               4   Poehling, initiated this action by filing a complaint under the qui tam provisions of
                               5   the False Claims Act (“FCA”) against UnitedHealth in March 2011. UnitedHealth
                               6   admits that from 2004 through the end of 2012, Poehling was the Director of
                               7   Finance for UnitedHealthcare. UnitedHealth denies the characterization of its
                               8   Chart Review Program as a “revenue-generating activit[y].” UnitedHealth is
                               9   without knowledge or information sufficient to form a belief as to the truth or
                          10       falsity of the remaining allegations in Paragraph 23; therefore, such allegations are
                          11       denied.
                          12       II.   Defendants
                          13             24.    UnitedHealth admits that UnitedHealth Group Incorporated is a
                          14       publicly traded Delaware corporation and that it, along with some of its affiliates,
                          15       have offices in various locations throughout the United States, including in the
                          16       Central District of California. UnitedHealth denies the remaining allegations in
                          17       Paragraph 24.
                          18             25.    UnitedHealth admits that some of its MA Organizations offer one or
                          19       more MA Plans and some also offer PD Plans. UnitedHealth admits that in or
                          20       around 2008, UnitedHealth Group Incorporated had approximately 1.5 million
                          21       beneficiaries enrolled in MA Plans operated by its affiliate entities and millions of
                          22       beneficiaries enrolled in PD Plans operated by its affiliate entities. UnitedHealth
                          23       admits that in or around 2009, UnitedHealth Group Incorporated had
                          24       approximately 1.8 million beneficiaries enrolled in MA operated by its affiliate
                          25       entities and millions of beneficiaries enrolled in PD Plans operated by its affiliate
                          26       entities. UnitedHealth admits that in or around 2010, UnitedHealth Group
                          27       Incorporated had approximately 2.1 million beneficiaries in MA Plans operated by
                          28       its affiliate entities and millions of beneficiaries in PD Plans operated by its
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ATTORNEYS AT LAW
                                                                                  UNITEDHEALTH’S ANSWER TO UNITED STATES’
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                               1   affiliate entities. UnitedHealth admits that in or around 2011, UnitedHealth Group
                               2   Incorporated had approximately 2.2 million beneficiaries in MA Plans operated by
                               3   its affiliate entities and millions of beneficiaries in PD Plans operated by its
                               4   affiliate entities. UnitedHealth admits that in or around 2012, UnitedHealth Group
                               5   Incorporated had approximately 2.6 million beneficiaries in MA Plans operated by
                               6   its affiliate entities and millions of beneficiaries in PD Plans operated by its
                               7   affiliate entities. UnitedHealth denies the remaining allegations in Paragraph 25.
                               8         26.    To the extent the allegations in Paragraph 26 relate to claims that have
                               9   been dismissed, they are surplusage and should be stricken. UnitedHealth admits
                          10       that the following entities named as Defendants in this action have had or have
                          11       previously had one or more agreements with the Government at some point since
                          12       2005 to offer MA and/or PD Plans to Medicare beneficiaries under Parts C and D
                          13       of the Medicare Program, and received payments from the Government pursuant to
                          14       these agreements: Citrus Health Care, Inc., which was a Florida corporation;
                          15       Health Plan of Nevada, Inc., which is a Nevada corporation; Medica HealthCare
                          16       Plans, Inc., which is a Florida corporation; and Physicians Health Choice of Texas,
                          17       LLC, which is a Texas limited liability company doing business as Physicians
                          18       Health Choice. UnitedHealth denies the remaining allegations in Paragraph 26.
                          19             27.    UnitedHealth admits that United HealthCare Services, Inc. is a
                          20       Minnesota corporation and a direct subsidiary of UnitedHealth Group
                          21       Incorporated. UnitedHealth also admits that PacifiCare Health Systems, LLC and
                          22       PacifiCare Health Plan Administrators, Inc. merged into United HealthCare
                          23       Services, Inc. UnitedHealth denies the remaining allegations in Paragraph 27.
                          24             28.    UnitedHealth admits that Ovations, Inc. is a Delaware corporation and
                          25       a direct subsidiary of United HealthCare Services, Inc. and an indirect subsidiary
                          26       of UnitedHealth Group Incorporated. UnitedHealth denies the remaining
                          27       allegations in Paragraph 28.
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ATTORNEYS AT LAW
                                                                                   UNITEDHEALTH’S ANSWER TO UNITED STATES’
W A S H I N G T O N , D .C .                                                                AMENDED COMPLAINT-IN-PARTIAL-
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                               1         29.    UnitedHealth admits that UnitedHealthcare, Inc. is a Delaware
                               2   corporation. UnitedHealth admits that various UnitedHealthcare subsidiaries
                               3   operate health benefit plans and provide healthcare benefits to Medicare
                               4   beneficiaries under the MA Program. UnitedHealth denies the remaining
                               5   allegations in Paragraph 29.
                               6         30.    UnitedHealth admits that Optum, Inc. and OptumInsight, Inc. are
                               7   Delaware corporations and indirect subsidiaries of UnitedHealth Group
                               8   Incorporated. UnitedHealth admits that in 2011, OptumInsight became the
                               9   successor to Ingenix, Inc. Paragraph 30 also refers to the Complaint, a legal
                          10       document, which speaks for itself and to which no response is required.
                          11       UnitedHealth denies the remaining allegations in Paragraph 30.
                          12             31.    Paragraph 31 states legal conclusions to which no response is
                          13       required. To the extent Paragraph 31 contains any factual allegations, such
                          14       allegations are denied.
                          15             32.    Paragraph 32 states legal conclusions to which no response is
                          16       required. UnitedHealth denies the remaining allegations in Paragraph 32.
                          17             33.    UnitedHealth admits that, starting in 2007, its risk adjustment
                          18       submission process was primarily performed within Ingenix and then within
                          19       Ingenix’s successor, Optum. UnitedHealth admits that Ingenix and then Optum
                          20       submitted risk adjustment data to CMS’ Risk Adjustment Processing System
                          21       (RAPS) via IRADS. UnitedHealth admits that Ingenix and then Optum performed
                          22       operational functions for Chart Review, Claims Verification, and Risk Adjustment
                          23       Coding Compliance Review (“RACCR”) programs. UnitedHealth admits that
                          24       Ingenix and then Optum performed certain activities relating to risk adjustment
                          25       from its office in the Central District of California and elsewhere. UnitedHealth
                          26       denies the remaining allegations in Paragraph 33.
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ATTORNEYS AT LAW
                                                                                 UNITEDHEALTH’S ANSWER TO UNITED STATES’
W A S H I N G T O N , D .C .                                                              AMENDED COMPLAINT-IN-PARTIAL-
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                               1         34.    Paragraph 34 states legal conclusions to which no response is
                               2   required. Paragraph 34 also refers to the Complaint, a legal document, which
                               3   speaks for itself and to which no response is required.
                               4         35.    UnitedHealth admits that Ingenix and then Optum also performed risk
                               5   adjustment-related services for third parties, who owned and operated their own
                               6   MA Organizations and offered their own Plans. UnitedHealth admits that these
                               7   third parties were sometimes referred to as Optum’s commercial clients.
                               8   UnitedHealth admits that Ingenix and then Optum submitted risk adjustment data
                               9   to the Government on behalf of certain commercial clients. UnitedHealth admits
                          10       that Ingenix and then Optum conducted Chart Review and other programs for
                          11       certain commercial clients. UnitedHealth admits that Ingenix and then Optum
                          12       performed risk adjustment related work for certain commercial clients from offices
                          13       in this District and elsewhere. UnitedHealth denies the remaining allegations in
                          14       Paragraph 35.
                          15             36.    UnitedHealth admits that in or around 2005 it acquired PacifiCare
                          16       Health Systems, PacifiCare of Arizona, Inc., incorporated in Arizona; PacifiCare
                          17       of California, incorporated in California; PacifiCare of Colorado, Inc., incorporated
                          18       in Colorado; PacifiCare of Nevada, Inc., incorporated in Nevada; PacifiCare of
                          19       Oklahoma, Inc., incorporated in Oklahoma; PacifiCare of Oregon, Inc.,
                          20       incorporated in Oregon; PacifiCare of Texas, Inc. incorporated in Texas; and
                          21       PacifiCare of Washington, incorporated in Washington. UnitedHealth also admits
                          22       that at various points in time, PacifiCare plans were referred to as Secure Horizons.
                          23       UnitedHealth admits that the aforementioned entities are indirect subsidiaries of
                          24       UnitedHealth Group Incorporated. UnitedHealth admits that in or around 2011,
                          25       PacifiCare of California became UHC of California. UnitedHealth denies the
                          26       remaining allegations in Paragraph 36.
                          27             37.    UnitedHealth admits that PacifiCare Health Systems, LLC and
                          28       PacifiCare Health Plan Administrators, Inc. merged into United HealthCare
                                                                           11
ATTORNEYS AT LAW
                                                                                UNITEDHEALTH’S ANSWER TO UNITED STATES’
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                               1   Services, Inc. in or around 2005. UnitedHealth admits that all PacifiCare MA
                               2   Organizations and their successors were direct or indirect subsidiaries of
                               3   UnitedHealth Group Incorporated. Paragraph 37 also refers to the Complaint, a
                               4   legal document, which speaks for itself and to which no response is required.
                               5   UnitedHealth denies the remaining allegations in Paragraph 37.
                               6         38.    UnitedHealth admits that prior to its acquisition of PacifiCare,
                               7   PacifiCare had an office in Cypress, California. UnitedHealth is without
                               8   knowledge or information sufficient to form a belief as to the truth or falsity of the
                               9   remaining allegations in Paragraph 38; therefore, such allegations are denied.
                          10       Additionally, Paragraph 38 states a legal conclusion to which no response is
                          11       required. UnitedHealth denies the remaining allegations in Paragraph 38.
                          12             39.    UnitedHealth admits that in or around 2011, it acquired a share of
                          13       WellMed Medical Management, Inc. In or around 2011, UnitedHealth also
                          14       acquired entities such as Physician’s Health Choice of Texas, LLC and Citrus
                          15       Health Care, Inc., which operated in Texas, Florida, New Mexico, and Arkansas.
                          16       UnitedHealth admits that at the time of the acquisition, Citrus Health Care, Inc.
                          17       was a Florida corporation and a subsidiary of PHC Holdings of Florida, Inc.
                          18       UnitedHealth denies the remaining allegations in Paragraph 39.
                          19             40.    UnitedHealth admits that for many years, WMMI had affiliates that
                          20       directly managed the provision of healthcare services, including WellMed
                          21       Networks, Inc., WellMed Networks Inc. of Florida, WellMed Medical
                          22       Management of Florida Inc., and WellMed Medical Group, PA. UnitedHealth
                          23       admits that after the acquisition, WMMI became part of the UnitedHealth Group
                          24       Incorporated group called OptumCare. UnitedHealth admits that WellMed’s
                          25       integrated health care delivery system includes more than 10,000 contracted
                          26       physicians who provide healthcare to hundreds of thousands of Medicare
                          27       beneficiaries in Texas and Florida, including those beneficiaries enrolled in
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                                                                             12
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                               1   UnitedHealth’s MA Plans. UnitedHealth denies the remaining allegations in
                               2   Paragraph 40.
                               3         41.      Paragraph 41 refers to the Complaint, a legal document, which speaks
                               4   for itself and to which no response is required. To the extent Paragraph 41
                               5   contains any factual allegations, such allegations are denied.
                               6           DEFENDANTS’ EXECUTIVES AND OTHER EMPLOYEES
                               7         42.      To the extent Paragraph 42 purports to describe a document or
                               8   documents, such documents speak for themselves and, as such, no response is
                               9   required. UnitedHealth denies the remaining allegations in Paragraph 42 with the
                          10       exception of those specifically admitted below:
                          11                   • Kyle Anderson was the Director of Financial Planning and Analysis at
                          12                      UnitedHealthcare from in or around 2009 to 2015.
                          13                   • Jason Bainbridge worked for UnitedHealthcare in or around 2012.
                          14                   • From in or around 2011 to 2015, Paul Balthazor was the Chief
                          15                      Financial Officer of UnitedHealthcare Community & State.
                          16                   • Marc Beckmann worked for UnitedHealthcare Medicare &
                          17                      Retirement.
                          18                   • In or around 2008, Jon Bird worked for Ingenix’s Risk Adjustment
                          19                      Group, became Director of Revenue Projections in or around 2010,
                          20                      and became the Vice President of Risk Adjustment and Quality
                          21                      Analytics at Optum in or around 2013.
                          22                   • Gail Boudreaux became the Executive Vice President of
                          23                      UnitedHealthcare in or around 2008.
                          24                   • Tracey Bradberry was an Operations Manager at Ingenix from around
                          25                      2008 to 2012, and that since 2012, she has served as an Associate
                          26                      Director of Operations at Optum.
                          27                   • Patty Brennan began working at Ingenix in or around 2008 as a
                          28                      Compliance Manager for Risk Adjustment Programs. In or around
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                               1      2009, Brennan became the Director of Retrospective Services at
                               2      Ingenix. In or around 2013, Brennan became the Vice President of
                               3      Retrospective Services at Optum.
                               4   • In or around 2009, Jonathan Bunker was the President of Sierra
                               5      Health and Life Insurance Company, Inc. and the President of Health
                               6      Plan of Nevada, Inc. In or around 2013 Bunker became the Chief
                               7      Executive Officer for UnitedHealthcare’s Southwest Region.
                               8   • Barbara Carlson was a Senior Regulatory Affairs Analyst at
                               9      UnitedHealthcare in 2011.
                          10       • Shelly Cranley served as the Director of Regulatory Affairs for
                          11          UnitedHealthcare.
                          12       • Keith Dobbins has been UnitedHealthcare’s Deputy General Counsel
                          13          since at least in or around 2014.
                          14       • From around 2012 to 2015, Juliet Domb was a Strategic Relationship
                          15          Analyst at Optum. Domb served as an administrative assistant to
                          16          Larry Renfro.
                          17       • Jeffrey Dumcum was the Chief Financial Officer at PacifiCare, and
                          18          became a Director of Finance at UnitedHealth following PacifiCare’s
                          19          acquisition. In or around 2007, Dumcum became a Senior Vice
                          20          President at Ingenix (later Optum).
                          21       • Karen Erickson has been an Executive Vice President at Optum since
                          22          in or around 2011, and that she was Optum’s Chief Administrative
                          23          Officer in or around 2011.
                          24       • Ronnie Grower was a Vice President of Market Consultation at
                          25          Ingenix from around 2008 to 2009, and a Vice President of Account
                          26          Management at Ingenix from around 2009 to 2010.
                          27       • Joseph Hafermann was the Chief Financial Officer of Secure
                          28          Horizons in or around 2007.
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                               1   • Kimberly Halva was an attorney for UnitedHealthcare Medicare &
                               2      Retirement in or around 2009 and served as UnitedHealthcare
                               3      Medicare & Retirement’s Finance and Clinical Compliance Officer
                               4      from in or around 2010 to 2013.
                               5   • In or around 2010 to 2013, Mary Hammond was an Associate
                               6      Director of Strategy and Support at UnitedHealthcare Medicare &
                               7      Retirement.
                               8   • In or around 2008 to 2013, Charles Hanson was a Vice President of
                               9      Underwriting and Finance at UnitedHealthcare Medicare &
                          10          Retirement.
                          11       • Steve Hemsley is currently the Executive Chairman of UHG’s Board
                          12          of Directors, and that he was formerly Chief Executive Officer of
                          13          UHG from in or around 2006 to 2017.
                          14       • Pam Holt was a Manager of Network Operations at UnitedHealthcare.
                          15       • Scott Hughes was a Senior Project Manager at Optum beginning in or
                          16          around 2012.
                          17       • Michael (Mike) Jacobson was a Business Analyst Consultant at
                          18          OptumInsight.
                          19       • Donald James was a Director of Program Strategy at Optum from in
                          20          or around 2012 to 2015.
                          21       • Thad Johnson is the current Chief Legal Officer at UnitedHealthcare.
                          22       • Joseph Keen was a Vice President and Chief Compliance Audit
                          23          Officer for UnitedHealthcare in or around 2011.
                          24       • Gerald (Jerry) Knutson was the Chief Financial Officer at Ovations
                          25          from in or around 2003 to 2009 and the Chief Financial Officer of
                          26          OptumInsight from in or around 2009 to 2012.
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                               1   • John (Jack) Larsen was the Chief Executive Officer of
                               2      UnitedHealthcare Medicare & Retirement and at one time was the
                               3      Chief Financial Officer of UnitedHealthcare Medicare & Retirement.
                               4   • In or around 2010, Rebecca Martin became the Director of Encounter
                               5      Operations at Optum.
                               6   • In or around 2013, 2014, and 2015, Jay Matushak was a Vice
                               7      President of Finance for UnitedHealthcare Medicare & Retirement.
                               8   • Michael McCarthy was a Regional Vice President for Southern
                               9      California for UnitedHealthcare in or around 2013.
                          10       • Bill Miller was the Chief Executive Officer of OptumInsight from in
                          11          or around 2012 to 2017.
                          12       • Eric Murphy was President of Payer Solutions at Optum.
                          13       • Randall Myers worked for PacifiCare and then for Ingenix and then
                          14          Optum as a Director of Encounter Operations.
                          15       • Steve Nelson has been the Chief Executive Officer of
                          16          UnitedHealthcare since in or around 2017, and that from in or around
                          17          2014 to 2017, he was the Chief Executive Officer of UnitedHealthcare
                          18          Medicare & Retirement.
                          19       • Jennifer O’Brien was the Chief Medicare Compliance Officer of
                          20          Ovations.
                          21       • Karin O’Hara worked at UnitedHealthcare Community & State.
                          22       • David Orbuch was the Chief Compliance Officer for PSMG.
                          23       • Karen Petroff was the Senior Vice President of Business Development
                          24          at Optum.
                          25       • Cynthia (Cindy) Polich was the President of UnitedHealthcare
                          26          Medicare & Retirement.
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                               1   • Janice Redmond was Senior Vice President of Provider Outreach at
                               2      Optum until in or around 2012, when she became Vice President of
                               3      Market Consultation for Optum’s Western Region.
                               4   • In or around 2013, Anne Reis was an Associate Director of Revenue
                               5      for UnitedHealthcare Medicare & Retirement.
                               6   • In or around 2009 to 2011, Larry Renfro served as the Chief
                               7      Executive Officer of Ovations and the Chief Executive Officer of the
                               8      Public & Senior Markets Group. Renfro is currently the Chief
                               9      Executive Officer of Optum and has been in this position since in or
                          10          around July 2011. Renfro has been the Vice Chairman of UHG since
                          11          in or around November 2014.
                          12       • Sandy Rick was a Senior Regulatory Affairs Analyst at
                          13          UnitedHealthcare.
                          14       • Kara Rios was the Chief Financial Officer of AmeriChoice.
                          15       • Justin Roth was the Chief Financial Officer of Evercare.
                          16       • Daniel Schumacher was the Chief Financial Officer of
                          17          UnitedHealthcare.
                          18       • Melissa Sedor was a Director of Accounting at UnitedHealthcare.
                          19       • Matt Shors is UHG’s Senior Deputy General Counsel.
                          20       • Marianne Short is UHG’s Executive Vice President and Chief Legal
                          21          Officer.
                          22       • Andy Slavitt was the Chief Executive Officer for OptumInsight and
                          23          an Executive Vice President for Optum.
                          24       • Scott Theisen was the Chief Financial Officer of UnitedHealthcare
                          25          Medicare & Retirement from in or around 2010 to 2013.
                          26       • Brian Thompson has been the Chief Executive Officer of
                          27          UnitedHealthcare Medicare & Retirement since in or around 2017,
                          28          and that from in or around 2013 to 2017, he was the Chief Financial
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                               1                  Officer of UnitedHealthcare Medicare & Retirement. Brian
                               2                  Thompson was also previously the Chief Financial Officer of
                               3                  UnitedHealthcare Community & State.
                               4               • Carol Thompson was a National Manager for Risk Adjustment
                               5                  Programs at Ingenix until in or around 2009, a Manager of ChartSync
                               6                  operations at Ingenix from in or around 2009 to 2011, a Manager of
                               7                  Encounter Operations at Optum from in or around 2011 to 2013 and
                               8                  an Analyst of Encounter Operations at Optum from in or around 2013
                               9                  to 2014.
                          10                   • Lee Valenta was the Chief Financial Officer, the Chief Operating
                          11                      Officer, the Chief Scientific Officer, and an Executive Vice President
                          12                      at OptumInsight.
                          13                   • Karen Wagor was the Manager of the National Medical Coder Team
                          14                      and the National Coding Trainer at Ingenix and then Optum and that
                          15                      she previously worked at PacifiCare.
                          16                   • John Way was Chief Financial Officer of SecureHorizons.
                          17                   • Timothy Wicks served in a senior management position at Optum.
                          18                                  THE MEDICARE PROGRAM
                          19       I.    The Medicare Statute
                          20             43.      Paragraph 43 contains no allegations with respect to a particular
                          21       Defendant or claim, and therefore no response is required. However, to the extent
                          22       Paragraph 43 purports to summarize and/or describe the provisions of the Medicare
                          23       program, UnitedHealth states that the Medicare statute speaks for itself, and to the
                          24       extent that the allegations in Paragraph 43 vary therefrom or with other applicable
                          25       statutory or decisional law, UnitedHealth denies those allegations. Paragraph 43
                          26       also states legal conclusions to which no response is required.
                          27             44.      Paragraph 44 contains no allegations with respect to a particular
                          28       Defendant or claim, and therefore no response is required. However, to the extent
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                               1   Paragraph 44 purports to summarize and/or describe the provisions of the Medicare
                               2   program, UnitedHealth states that the Medicare statute speaks for itself, and to the
                               3   extent that the allegations in Paragraph 44 vary therefrom or with other applicable
                               4   statutory or decisional law, UnitedHealth denies those allegations. Paragraph 44
                               5   also states legal conclusions to which no response is required.
                               6         45.    Paragraph 45 contains no allegations with respect to a particular
                               7   Defendant or claim, and therefore no response is required. However, to the extent
                               8   Paragraph 45 purports to summarize and/or describe the provisions of the Medicare
                               9   program, UnitedHealth states that the Medicare statute speaks for itself, and to the
                          10       extent that the allegations in Paragraph 45 vary therefrom or with other applicable
                          11       statutory or decisional law, UnitedHealth denies those allegations. Paragraph 45
                          12       also states legal conclusions to which no response is required.
                          13             46.    Paragraph 46 contains no allegations with respect to a particular
                          14       Defendant or claim, and therefore no response is required. However, to the extent
                          15       Paragraph 46 purports to summarize and/or describe the provisions of the Medicare
                          16       program, UnitedHealth states that the Medicare statute speaks for itself, and to the
                          17       extent that the allegations in Paragraph 46 vary therefrom or with other applicable
                          18       statutory or decisional law, UnitedHealth denies those allegations. Additionally,
                          19       Paragraph 46 refers to the Complaint, a legal document, which speaks for itself and
                          20       to which no response is required. Paragraph 46 also states legal conclusions to
                          21       which no response is required.
                          22             47.    Paragraph 47 contains no allegations with respect to a particular
                          23       Defendant or claim, and therefore no response is required. However, to the extent
                          24       Paragraph 47 purports to summarize and/or describe the provisions of the Medicare
                          25       program, UnitedHealth states that the Medicare statute speaks for itself, and to the
                          26       extent that the allegations in Paragraph 47 vary therefrom or with other applicable
                          27       statutory or decisional law, UnitedHealth denies those allegations. Paragraph 47
                          28       also states legal conclusions to which no response is required.
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                               1         48.      Paragraph 48 contains no allegations with respect to a particular
                               2   Defendant or claim, and therefore no response is required. However, to the extent
                               3   Paragraph 48 purports to summarize and/or describe the provisions of the Medicare
                               4   program, UnitedHealth states that the Medicare statute speaks for itself, and to the
                               5   extent that the allegations in Paragraph 48 vary therefrom or with other applicable
                               6   statutory or decisional law, UnitedHealth denies those allegations. Paragraph 48
                               7   refers to the Complaint, a legal document, which speaks for itself and to which no
                               8   response is required.
                               9         49.      Paragraph 49 contains no allegations with respect to a particular
                          10       Defendant or claim, and therefore no response is required. However, to the extent
                          11       Paragraph 49 purports to summarize and/or describe the provisions of the Medicare
                          12       program, UnitedHealth states that the Medicare statute, Medicare regulations,
                          13       Medicare guidance documents, and the FCA speak for themselves, and to the
                          14       extent that the allegations in Paragraph 49 vary therefrom or with other applicable
                          15       statutory or decisional law, UnitedHealth denies those allegations. Paragraph 49
                          16       also states legal conclusions to which no response is required.
                          17             50.      To the extent Paragraph 50 purports to summarize and/or describe the
                          18       provisions of the Medicare program, UnitedHealth states that the Medicare statute
                          19       speaks for itself, and to the extent that the allegations in Paragraph 50 vary
                          20       therefrom or with other applicable statutory or decisional law, UnitedHealth denies
                          21       those allegations. Paragraph 50 also states legal conclusions to which no response
                          22       is required.
                          23             51.      To the extent Paragraph 51 purports to summarize and/or describe the
                          24       provisions of the Medicare program, UnitedHealth states that the Medicare statute
                          25       speaks for itself, and to the extent that the allegations in Paragraph 51 vary
                          26       therefrom or with other applicable statutory or decisional law, UnitedHealth denies
                          27       those allegations. Paragraph 51 also states legal conclusions to which no response
                          28       is required.
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                               1         52.    Paragraph 52 contains no allegations with respect to a particular
                               2   Defendant or claim, and therefore no response is required. However, to the extent
                               3   Paragraph 52 purports to summarize and/or describe the provisions of the Medicare
                               4   program, UnitedHealth states that the Medicare statute speaks for itself, and to the
                               5   extent that the allegations in Paragraph 52 vary therefrom or with other applicable
                               6   statutory or decisional law, UnitedHealth denies those allegations. Paragraph 52
                               7   also states legal conclusions to which no response is required.
                               8         53.    Paragraph 53 contains no allegations with respect to a particular
                               9   Defendant or claim, and therefore no response is required. However, to the extent
                          10       Paragraph 53 purports to summarize and/or describe the provisions of the Medicare
                          11       program, UnitedHealth states that the Medicare statute speaks for itself, and to the
                          12       extent that the allegations in Paragraph 53 vary therefrom or with other applicable
                          13       statutory or decisional law, UnitedHealth denies those allegations. Paragraph 53
                          14       also states legal conclusions to which no response is required.
                          15       II.   Medicare Parts C and D Risk Adjustment Payments
                          16             54.    Paragraph 54 contains no allegations with respect to a particular
                          17       Defendant or claim, and therefore no response is required. However, to the extent
                          18       Paragraph 54 purports to summarize and/or describe the provisions of the Medicare
                          19       program, UnitedHealth states that the Medicare statute speaks for itself, and to the
                          20       extent that the allegations in Paragraph 54 vary therefrom or with other applicable
                          21       statutory or decisional law, UnitedHealth denies those allegations. Paragraph 54
                          22       also states legal conclusions to which no response is required.
                          23             55.    Paragraph 55 contains no allegations with respect to a particular
                          24       Defendant or claim, and therefore no response is required. However, to the extent
                          25       Paragraph 55 purports to summarize and/or describe the provisions of the Medicare
                          26       program, UnitedHealth states that the Medicare statute speaks for itself, and to the
                          27       extent that the allegations in Paragraph 55 vary therefrom or with other applicable
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                               1   statutory or decisional law, UnitedHealth denies those allegations. Paragraph 55
                               2   also states legal conclusions to which no response is required.
                               3         56.      Paragraph 56 contains no allegations with respect to a particular
                               4   Defendant or claim, and therefore no response is required. However, to the extent
                               5   Paragraph 56 purports to summarize and/or describe the provisions of the Medicare
                               6   program, UnitedHealth states that the Medicare statute speaks for itself, and to the
                               7   extent that the allegations in Paragraph 56 vary therefrom or with other applicable
                               8   statutory or decisional law, UnitedHealth denies those allegations. Paragraph 56
                               9   also states legal conclusions to which no response is required.
                          10             57.      Paragraph 57 contains no allegations with respect to a particular
                          11       Defendant or claim, and therefore no response is required. However, to the extent
                          12       Paragraph 57 purports to summarize and/or describe the provisions of the Medicare
                          13       program, UnitedHealth states that the Medicare statute, Medicare regulations, and
                          14       Medicare guidance documents speak for themselves, and to the extent that the
                          15       allegations in Paragraph 57 vary therefrom or with other applicable statutory or
                          16       decisional law, UnitedHealth denies those allegations. Paragraph 57 also states
                          17       legal conclusions to which no response is required.
                          18             58.      Paragraph 58 contains no allegations with respect to a particular
                          19       Defendant or claim, and therefore no response is required. However, to the extent
                          20       Paragraph 58 purports to summarize and/or describe the provisions of the Medicare
                          21       program, UnitedHealth states that the Medicare statute and regulations speak for
                          22       themselves, and to the extent that the allegations in Paragraph 58 vary therefrom or
                          23       with other applicable statutory or decisional law, UnitedHealth denies those
                          24       allegations.
                          25             59.      Paragraph 59 contains no allegations with respect to a particular
                          26       Defendant or claim, and therefore no response is required. However, to the extent
                          27       Paragraph 59 purports to summarize and/or describe the provisions of the Medicare
                          28       program, UnitedHealth states that the Medicare statute speaks for itself, and to the
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                               1   extent that the allegations in Paragraph 59 vary therefrom or with other applicable
                               2   statutory or decisional law, UnitedHealth denies those allegations.
                               3         60.    Paragraph 60 contains no allegations with respect to a particular
                               4   Defendant or claim, and therefore no response is required. However, to the extent
                               5   Paragraph 60 purports to summarize and/or describe the provisions of the Medicare
                               6   program, UnitedHealth states that the Medicare statute speaks for itself, and to the
                               7   extent that the allegations in Paragraph 60 vary therefrom or with other applicable
                               8   statutory or decisional law, UnitedHealth denies those allegations.
                               9         61.    Paragraph 61 contains no allegations with respect to a particular
                          10       Defendant or claim, and therefore no response is required. However, to the extent
                          11       Paragraph 61 purports to summarize and/or describe the provisions of the Medicare
                          12       program, UnitedHealth states that the Medicare statute speaks for itself, and to the
                          13       extent that the allegations in Paragraph 61 vary therefrom or with other applicable
                          14       statutory or decisional law, UnitedHealth denies those allegations.
                          15             62.    Paragraph 62 contains no allegations with respect to a particular
                          16       Defendant or claim, and therefore no response is required. However, to the extent
                          17       Paragraph 62 purports to summarize and/or describe the provisions of the Medicare
                          18       program, UnitedHealth states that the Medicare statute speaks for itself, and to the
                          19       extent that the allegations in Paragraph 62 vary therefrom or with other applicable
                          20       statutory or decisional law, UnitedHealth denies those allegations.
                          21             63.    Paragraph 63 contains no allegations with respect to a particular
                          22       Defendant or claim, and therefore no response is required. However, to the extent
                          23       Paragraph 63 purports to summarize and/or describe the provisions of the Medicare
                          24       program, UnitedHealth states that the Medicare statute speaks for itself, and to the
                          25       extent that the allegations in Paragraph 63 vary therefrom or with other applicable
                          26       statutory or decisional law, UnitedHealth denies those allegations. The final
                          27       sentence of Paragraph 63 describes the Complaint, a legal document, which speaks
                          28       for itself and to which no response is required.
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                               1         64.    Paragraph 64 contains no allegations with respect to a particular
                               2   Defendant or claim, and therefore no response is required. However, to the extent
                               3   Paragraph 64 purports to summarize and/or describe the provisions of the Medicare
                               4   program, UnitedHealth states that the Medicare statute speaks for itself, and to the
                               5   extent that the allegations in Paragraph 64 vary therefrom or with other applicable
                               6   statutory or decisional law, UnitedHealth denies those allegations. Paragraph 64
                               7   also states legal conclusions to which no response is required.
                               8         65.    Paragraph 65 contains no allegations with respect to a particular
                               9   Defendant or claim, and therefore no response is required. However, to the extent
                          10       Paragraph 65 purports to summarize and/or describe the provisions of the Medicare
                          11       program, UnitedHealth states that the Medicare statute speaks for itself, and to the
                          12       extent that the allegations in Paragraph 65 vary therefrom or with other applicable
                          13       statutory or decisional law, UnitedHealth denies those allegations.
                          14                               DEFENDANTS’ AGREEMENTS
                          15       I.    The Annual Parts C and D Agreements
                          16             66.    Paragraph 66 states legal conclusions to which no response is
                          17       required. To the extent Paragraph 66 purports to summarize and/or describe the
                          18       provisions of the Medicare program, UnitedHealth states that the Medicare statute
                          19       speaks for itself, and to the extent that the allegations in Paragraph 66 vary
                          20       therefrom or with other applicable statutory or decisional law, UnitedHealth denies
                          21       those allegations. UnitedHealth admits that certain entities named as Defendants
                          22       in this action entered into one or more agreements with the Government since 2005
                          23       to offer MA and/or PD Plans to Medicare beneficiaries under Parts C and D of the
                          24       Medicare Program.
                          25             67.    To the extent Paragraph 67 purports to summarize and/or describe the
                          26       provisions of the Medicare program, UnitedHealth states that the Medicare statute
                          27       speaks for itself, and to the extent that the allegations in Paragraph 67 vary
                          28       therefrom or with other applicable statutory or decisional law, UnitedHealth denies
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                               1   those allegations. Paragraph 67 also states legal conclusions to which no response
                               2   is required.
                               3         68.      To the extent the allegations in Paragraph 68 relate to claims that have
                               4   been dismissed, they are surplusage and should be stricken. To the extent
                               5   Paragraph 68 purports to describe a document or documents, such documents
                               6   speak for themselves and, as such, no response is required. UnitedHealth denies
                               7   the remaining allegations in Paragraph 68. Paragraph 68 also states legal
                               8   conclusions to which no response is required.
                               9         69.      To the extent Paragraph 69 purports to describe a document or
                          10       documents, such documents speak for themselves and, as such, no response is
                          11       required. UnitedHealth denies the remaining allegations in Paragraph 69.
                          12             70.      To the extent Paragraph 70 purports to describe a document or
                          13       documents, such documents speak for themselves and, as such, no response is
                          14       required. UnitedHealth denies the remaining allegations in Paragraph 70.
                          15             71.      To the extent the allegations in Paragraph 71 relate to claims that have
                          16       been dismissed, they are surplusage and should be stricken. To the extent
                          17       Paragraph 71 purports to describe a document or documents, such documents
                          18       speak for themselves and, as such, no response is required. UnitedHealth denies
                          19       the remaining allegations in Paragraph 71.
                          20             72.      Paragraph 72 contains no allegations with respect to a particular
                          21       Defendant or claim, and therefore no response is required. To the extent Paragraph
                          22       72 purports to describe a document or documents, such documents speak for
                          23       themselves and, as such, no response is required. UnitedHealth denies the
                          24       remaining allegations in Paragraph 72.
                          25       II.   The Electronic Data Interchange Agreements
                          26             73.      To the extent Paragraph 73 purports to summarize and/or describe the
                          27       provisions of the Medicare program, UnitedHealth states that the Medicare statute
                          28       and regulations speak for themselves, and to the extent that the allegations in
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ATTORNEYS AT LAW
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                               1   Paragraph 73 vary therefrom or with other applicable statutory or decisional law,
                               2   UnitedHealth denies those allegations. To the extent Paragraph 73 purports to
                               3   describe a document or documents, such documents speak for themselves and, as
                               4   such, no response is required. Paragraph 73 also states legal conclusions to which
                               5   no response is required. UnitedHealth denies the remaining allegations in
                               6   Paragraph 73.
                               7         74.   To the extent Paragraph 74 purports to describe a document or
                               8   documents, such documents speak for themselves and, as such, no response is
                               9   required. UnitedHealth denies the remaining allegations in Paragraph 74.
                          10             75.   To the extent Paragraph 75 purports to describe a document or
                          11       documents, such documents speak for themselves and, as such, no response is
                          12       required. Paragraph 75 also states legal conclusions to which no response is
                          13       required. UnitedHealth denies the remaining allegations in Paragraph 75.
                          14             76.   To the extent Paragraph 76 purports to describe a document or
                          15       documents, such documents speak for themselves and, as such, no response is
                          16       required. Paragraph 76 also states legal conclusions to which no response is
                          17       required. UnitedHealth denies the remaining allegations in Paragraph 76.
                          18             77.   To the extent Paragraph 77 purports to describe a document or
                          19       documents, such documents speak for themselves and, as such, no response is
                          20       required. Paragraph 77 also states legal conclusions to which no response is
                          21       required. UnitedHealth denies the remaining allegations in Paragraph 77.
                          22             78.   To the extent Paragraph 78 purports to describe a document or
                          23       documents, such documents speak for themselves and, as such, no response is
                          24       required. Paragraph 78 also states legal conclusions to which no response is
                          25       required. UnitedHealth denies the remaining allegations in Paragraph 78.
                          26             79.   To the extent Paragraph 79 purports to describe a document or
                          27       documents, such documents speak for themselves and, as such, no response is
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ATTORNEYS AT LAW
                                                                                 UNITEDHEALTH’S ANSWER TO UNITED STATES’
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                               1   required. Paragraph 79 also states legal conclusions to which no response is
                               2   required. UnitedHealth denies the remaining allegations in Paragraph 79.
                               3          80.   To the extent Paragraph 80 purports to describe a document or
                               4   documents, such documents speak for themselves and, as such, no response is
                               5   required. Paragraph 80 also states legal conclusions to which no response is
                               6   required. UnitedHealth denies the remaining allegations in Paragraph 80.
                               7          81.   To the extent Paragraph 81 purports to describe a document or
                               8   documents, such documents speak for themselves and, as such, no response is
                               9   required. Paragraph 81 also states legal conclusions to which no response is
                          10       required. UnitedHealth denies the remaining allegations in Paragraph 81.
                          11              82.   Paragraph 82 contains no allegations with respect to a particular
                          12       Defendant or claim, and therefore no response is required. To the extent Paragraph
                          13       82 purports to describe a document or documents, such documents speak for
                          14       themselves and, as such, no response is required. UnitedHealth denies the
                          15       remaining allegations in Paragraph 82.
                          16       III.   The Ingenix/Optum Service Agreements
                          17              83.   To the extent Paragraph 83 purports to describe a document or
                          18       documents, such documents speak for themselves and, as such, no response is
                          19       required. UnitedHealth denies the remaining allegations in Paragraph 83.
                          20              84.   To the extent Paragraph 84 purports to describe a document or
                          21       documents, such documents speak for themselves and, as such, no response is
                          22       required. UnitedHealth denies the remaining allegations in Paragraph 84.
                          23              85.   To the extent Paragraph 85 purports to describe a document or
                          24       documents, such documents speak for themselves and, as such, no response is
                          25       required. UnitedHealth denies the remaining allegations in Paragraph 85.
                          26              86.   To the extent Paragraph 86 purports to describe a document or
                          27       documents, such documents speak for themselves and, as such, no response is
                          28       required. UnitedHealth denies the remaining allegations in Paragraph 86.
                                                                          27
ATTORNEYS AT LAW
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                               1               DEFENDANTS’ DATA INTEGRITY OBLIGATIONS
                               2   I.    Obligation to Submit Valid Diagnoses
                               3         87.    Paragraph 87 contains no allegations with respect to a particular
                               4   Defendant or claim, and therefore no response is required. However, to the extent
                               5   Paragraph 87 purports to summarize and/or describe the provisions of the Medicare
                               6   program, UnitedHealth states that the Medicare statute, regulations, and guidance,
                               7   including the Medicare Managed Care Manual and the 2008 Risk Adjustment Data
                               8   Technical Assistance for Medicare Advantage Organizations Participant Guide
                               9   (“2008 RA Participant Guide”), speak for themselves, and to the extent that the
                          10       allegations in Paragraph 87 vary therefrom or with other applicable statutory or
                          11       decisional law, UnitedHealth denies those allegations. UnitedHealth denies the
                          12       remaining allegations in Paragraph 87. Paragraph 87 also states legal conclusions
                          13       to which no response is required.
                          14             88.    Paragraph 88 contains no allegations with respect to a particular
                          15       Defendant or claim, and therefore no response is required. However, to the extent
                          16       Paragraph 88 purports to summarize and/or describe the provisions of the Medicare
                          17       program, UnitedHealth states that the Medicare statute, regulations, and guidance
                          18       speak for themselves, and to the extent that the allegations in Paragraph 88 vary
                          19       therefrom or with other applicable statutory or decisional law, UnitedHealth denies
                          20       those allegations. UnitedHealth denies the remaining allegations in Paragraph 88.
                          21       Paragraph 88 also states legal conclusions to which no response is required.
                          22             89.    Paragraph 89 contains no allegations with respect to a particular
                          23       Defendant or claim, and therefore no response is required. However, to the extent
                          24       Paragraph 89 purports to summarize and/or describe the provisions of the Medicare
                          25       program, UnitedHealth states that the Medicare statute, regulations, and guidance
                          26       speak for themselves, and to the extent that the allegations in Paragraph 89 vary
                          27       therefrom or with other applicable statutory or decisional law, UnitedHealth denies
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ATTORNEYS AT LAW
                                                                                 UNITEDHEALTH’S ANSWER TO UNITED STATES’
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                               1   those allegations. UnitedHealth denies the remaining allegations in Paragraph 89.
                               2   Paragraph 89 also states legal conclusions to which no response is required.
                               3         90.    Paragraph 90 contains no allegations with respect to a particular
                               4   Defendant or claim, and therefore no response is required. However, to the extent
                               5   Paragraph 90 purports to summarize and/or describe the provisions of the Medicare
                               6   program, UnitedHealth states that the Medicare statute, regulations, and guidance
                               7   speak for themselves, and to the extent that the allegations in Paragraph 90 vary
                               8   therefrom or with other applicable statutory or decisional law, UnitedHealth denies
                               9   those allegations. UnitedHealth denies the remaining allegations in Paragraph 90.
                          10       Paragraph 90 also states legal conclusions to which no response is required.
                          11             91.    Paragraph 91 contains no allegations with respect to a particular
                          12       Defendant or claim, and therefore no response is required. However, to the extent
                          13       Paragraph 91 purports to summarize and/or describe the provisions of the Medicare
                          14       program, UnitedHealth states that the Medicare statute, regulations, and guidance
                          15       speak for themselves, and to the extent that the allegations in Paragraph 91 vary
                          16       therefrom or with other applicable statutory or decisional law, UnitedHealth denies
                          17       those allegations. UnitedHealth denies the remaining allegations in Paragraph 91.
                          18             92.    Paragraph 92 contains no allegations with respect to a particular
                          19       Defendant or claim, and therefore no response is required. However, to the extent
                          20       Paragraph 92 purports to summarize and/or describe a document or documents,
                          21       such documents speak for themselves and, as such, no response is required.
                          22       UnitedHealth denies the remaining allegations in Paragraph 92.
                          23             93.    Paragraph 93 contains no allegations with respect to a particular
                          24       Defendant or claim, and therefore no response is required. However, to the extent
                          25       Paragraph 93 purports to summarize and/or describe the provisions of the Medicare
                          26       program, UnitedHealth states that the Medicare statute, regulations, and guidance
                          27       speak for themselves, and to the extent that the allegations in Paragraph 93 vary
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ATTORNEYS AT LAW
                                                                                 UNITEDHEALTH’S ANSWER TO UNITED STATES’
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                               1   therefrom or with other applicable statutory or decisional law, UnitedHealth denies
                               2   those allegations. UnitedHealth denies the remaining allegations in Paragraph 93.
                               3         94.    Paragraph 94 contains no allegations with respect to a particular
                               4   Defendant or claim, and therefore no response is required. However, to the extent
                               5   Paragraph 94 purports to summarize and/or describe the provisions of the Medicare
                               6   program, UnitedHealth states that the Medicare statute, regulations, and guidance
                               7   speak for themselves, and to the extent that the allegations in Paragraph 94 vary
                               8   therefrom or with other applicable statutory or decisional law, UnitedHealth denies
                               9   those allegations. UnitedHealth denies the remaining allegations in Paragraph 94.
                          10       II.   Obligation to Implement an Effective Compliance Program
                          11             95.    Paragraph 95 contains no allegations with respect to a particular
                          12       Defendant or claim, and therefore no response is required. However, to the extent
                          13       Paragraph 95 purports to summarize and/or describe the provisions of the Medicare
                          14       program, UnitedHealth states that the Medicare statute, regulations, and guidance
                          15       speak for themselves, and to the extent that the allegations in Paragraph 95 vary
                          16       therefrom or with other applicable statutory or decisional law, UnitedHealth denies
                          17       those allegations. UnitedHealth denies the remaining allegations in Paragraph 95.
                          18             96.    Paragraph 96 contains no allegations with respect to a particular
                          19       Defendant or claim, and therefore no response is required. However, to the extent
                          20       Paragraph 96 purports to summarize and/or describe the provisions of the Medicare
                          21       program, UnitedHealth states that the Medicare statute, regulations, and guidance
                          22       speak for themselves, and to the extent that the allegations in Paragraph 96 vary
                          23       therefrom or with other applicable statutory or decisional law, UnitedHealth denies
                          24       those allegations. UnitedHealth denies the remaining allegations in Paragraph 96.
                          25             97.    Paragraph 97 contains no allegations with respect to a particular
                          26       Defendant or claim, and therefore no response is required. However, to the extent
                          27       Paragraph 97 purports to summarize and/or describe the provisions of the Medicare
                          28       program, UnitedHealth states that the Medicare statute, regulations, and guidance
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ATTORNEYS AT LAW
                                                                                UNITEDHEALTH’S ANSWER TO UNITED STATES’
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                               1   speak for themselves, and to the extent that the allegations in Paragraph 97 vary
                               2   therefrom or with other applicable statutory or decisional law, UnitedHealth denies
                               3   those allegations. UnitedHealth denies the remaining allegations in Paragraph 97.
                               4   III.   Obligation to Attest to Validity of Risk Adjustment Data
                               5          98.   To the extent the allegations in Paragraph 98 relate to claims that have
                               6   been dismissed, they are surplusage and should be stricken. Paragraph 98 contains
                               7   no allegations with respect to a particular Defendant or claim, and therefore no
                               8   response is required. However, to the extent Paragraph 98 purports to summarize
                               9   and/or describe the provisions of the Medicare program, UnitedHealth states that
                          10       the Medicare statute, regulations, and guidance speak for themselves, and to the
                          11       extent that the allegations in Paragraph 98 vary therefrom or with other applicable
                          12       statutory or decisional law, UnitedHealth denies those allegations. Paragraph 98
                          13       also states legal conclusions to which no response is required.
                          14              99.   To the extent the allegations in Paragraph 99 relate to claims that have
                          15       been dismissed, they are surplusage and should be stricken. Paragraph 99 contains
                          16       no allegations with respect to a particular Defendant or claim, and therefore no
                          17       response is required. However, to the extent Paragraph 99 purports to summarize
                          18       and/or describe the provisions of the Medicare program, UnitedHealth states that
                          19       the Medicare statute, regulations, and guidance speak for themselves, and to the
                          20       extent that the allegations in Paragraph 99 vary therefrom or with other applicable
                          21       statutory or decisional law, UnitedHealth denies those allegations. Paragraph 99
                          22       also states legal conclusions to which no response is required. UnitedHealth denies
                          23       the remaining allegations in Paragraph 99.
                          24              100. To the extent the allegations in Paragraph 100 relate to claims that
                          25       have been dismissed, they are surplusage and should be stricken. Paragraph 100
                          26       contains no allegations with respect to a particular Defendant or claim, and
                          27       therefore no response is required. However, to the extent Paragraph 100 purports
                          28       to summarize and/or describe the provisions of the Medicare program,
                                                                           31
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                               1   UnitedHealth states that the Medicare statute, regulations, and guidance speak for
                               2   themselves, and to the extent that the allegations in Paragraph 100 vary therefrom
                               3   or with other applicable statutory or decisional law, UnitedHealth denies those
                               4   allegations. Paragraph 100 also states legal conclusions to which no response is
                               5   required. UnitedHealth denies the remaining allegations in Paragraph 100.
                               6         101. To the extent the allegations in Paragraph 101 relate to claims that
                               7   have been dismissed, they are surplusage and should be stricken. Paragraph 101
                               8   contains no allegations with respect to a particular Defendant or claim, and
                               9   therefore no response is required. However, to the extent Paragraph 101 purports
                          10       to summarize and/or describe the provisions of the Medicare program,
                          11       UnitedHealth states that the Medicare statute, regulations, and guidance speak for
                          12       themselves, and to the extent that the allegations in Paragraph 101 vary therefrom
                          13       or with other applicable statutory or decisional law, UnitedHealth denies those
                          14       allegations. Paragraph 101 also states legal conclusions to which no response is
                          15       required. UnitedHealth denies the remaining allegations in Paragraph 101.
                          16             102. To the extent the allegations in Paragraph 102 relate to claims that
                          17       have been dismissed, they are surplusage and should be stricken. Paragraph 102
                          18       contains no allegations with respect to a particular Defendant or claim, and
                          19       therefore no response is required. However, to the extent Paragraph 102 purports
                          20       to summarize and/or describe the provisions of the Medicare program,
                          21       UnitedHealth states that the Medicare statute, regulations, and guidance speak for
                          22       themselves, and to the extent that the allegations in Paragraph 102 vary therefrom
                          23       or with other applicable statutory or decisional law, UnitedHealth denies those
                          24       allegations. Paragraph 102 also states legal conclusions to which no response is
                          25       required. UnitedHealth denies the remaining allegations in Paragraph 102.
                          26       IV.   Obligation to Delete Invalid Diagnoses
                          27             103. Paragraph 103 contains no allegations with respect to a particular
                          28       Defendant or claim, and therefore no response is required. However, to the extent
                                                                           32
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                               1   Paragraph 103 purports to summarize and/or describe the provisions of the
                               2   Medicare program, UnitedHealth states that the Medicare statute, regulations, and
                               3   guidance speak for themselves, and to the extent that the allegations in Paragraph
                               4   103 vary therefrom or with other applicable statutory or decisional law,
                               5   UnitedHealth denies those allegations. Paragraph 103 also states legal conclusions
                               6   to which no response is required. UnitedHealth denies the remaining allegations in
                               7   Paragraph 103.
                               8         104. Paragraph 104 contains no allegations with respect to a particular
                               9   Defendant or claim, and therefore no response is required. However, to the extent
                          10       Paragraph 104 purports to summarize and/or describe the provisions of the
                          11       Medicare program, UnitedHealth states that the Medicare statute, regulations, and
                          12       guidance speak for themselves, and to the extent that the allegations in Paragraph
                          13       104 vary therefrom or with other applicable statutory or decisional law,
                          14       UnitedHealth denies those allegations. Paragraph 104 also states legal conclusions
                          15       to which no response is required. UnitedHealth denies the remaining allegations in
                          16       Paragraph 104.
                          17             105. To the extent the allegations in Paragraph 105 relate to claims that
                          18       have been dismissed, they are surplusage and should be stricken. Paragraph 105
                          19       contains no allegations with respect to a particular Defendant or claim, and
                          20       therefore no response is required. However, to the extent Paragraph 105 purports
                          21       to summarize and/or describe the provisions of the Medicare program,
                          22       UnitedHealth states that the Medicare statute, regulations, and guidance speak for
                          23       themselves, and to the extent that the allegations in Paragraph 105 vary therefrom
                          24       or with other applicable statutory or decisional law, UnitedHealth denies those
                          25       allegations. Paragraph 105 also states legal conclusions to which no response is
                          26       required. UnitedHealth denies the remaining allegations in Paragraph 105.
                          27             106. Paragraph 106 contains no allegations with respect to a particular
                          28       Defendant or claim, and therefore no response is required. However, to the extent
                                                                           33
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                               1   Paragraph 106 purports to summarize and/or describe the provisions of the
                               2   Medicare program, UnitedHealth states that the Medicare statute, regulations, and
                               3   guidance speak for themselves, and to the extent that the allegations in Paragraph
                               4   106 vary therefrom or with other applicable statutory or decisional law,
                               5   UnitedHealth denies those allegations. Paragraph 106 also states legal conclusions
                               6   to which no response is required. UnitedHealth denies the remaining allegations in
                               7   Paragraph 106.
                               8         107. Paragraph 107 contains no allegations with respect to a particular
                               9   Defendant or claim, and therefore no response is required. However, to the extent
                          10       Paragraph 107 purports to summarize and/or describe the provisions of the
                          11       Medicare program, UnitedHealth states that the Medicare statute, regulations, and
                          12       guidance speak for themselves, and to the extent that the allegations in Paragraph
                          13       107 vary therefrom or with other applicable statutory or decisional law,
                          14       UnitedHealth denies those allegations. Paragraph 107 also states legal conclusions
                          15       to which no response is required. UnitedHealth denies the remaining allegations in
                          16       Paragraph 107.
                          17             108. Paragraph 108 contains no allegations with respect to a particular
                          18       Defendant or claim, and therefore no response is required. However, to the extent
                          19       Paragraph 108 purports to summarize and/or describe a document or documents,
                          20       such documents speak for themselves and, as such, no response is required.
                          21       Paragraph 108 also states legal conclusions to which no response is required.
                          22       UnitedHealth denies the remaining allegations in Paragraph 108.
                          23             109. Paragraph 109 contains no allegations with respect to a particular
                          24       Defendant or claim, and therefore no response is required. However, to the extent
                          25       Paragraph 109 purports to summarize and/or describe a document or documents or
                          26       data archive, such documents and data archive speak for themselves and, as such,
                          27       no response is required. Paragraph 109 also states legal conclusions to which no
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                                                                            34
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                               1   response is required. UnitedHealth denies the remaining allegations in Paragraph
                               2   109.
                               3          110. Paragraph 110 contains no allegations with respect to a particular
                               4   Defendant or claim, and therefore no response is required. However, to the extent
                               5   Paragraph 110 purports to summarize and/or describe the provisions of the
                               6   Medicare program, UnitedHealth states that the Medicare statute, regulations, and
                               7   guidance speak for themselves, and to the extent that the allegations in Paragraph
                               8   110 vary therefrom or with other applicable statutory or decisional law,
                               9   UnitedHealth denies those allegations. Paragraph 110 also states legal conclusions
                          10       to which no response is required. UnitedHealth denies the remaining allegations in
                          11       Paragraph 110.
                          12              111. Paragraph 111 contains no allegations with respect to a particular
                          13       Defendant or claim, and therefore no response is required. However, to the extent
                          14       Paragraph 111 purports to summarize and/or describe the provisions of the
                          15       Medicare program, UnitedHealth states that the Medicare statute, regulations, and
                          16       guidance speak for themselves, and to the extent that the allegations in Paragraph
                          17       111 vary therefrom or with other applicable statutory or decisional law,
                          18       UnitedHealth denies those allegations. UnitedHealth denies the remaining
                          19       allegations in Paragraph 111.
                          20              112. Paragraph 112 contains no allegations with respect to a particular
                          21       Defendant or claim, and therefore no response is required. However, to the extent
                          22       Paragraph 112 purports to summarize and/or describe the provisions of the
                          23       Medicare program, UnitedHealth states that the Medicare statute, regulations, and
                          24       guidance speak for themselves, and to the extent that the allegations in Paragraph
                          25       112 vary therefrom or with other applicable statutory or decisional law,
                          26       UnitedHealth denies those allegations. UnitedHealth denies the remaining
                          27       allegations in Paragraph 112.
                          28
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                               1         113. UnitedHealth admits that Rebecca Martin knew how to make deletes
                               2   in RAPS. UnitedHealth admits that certain other employees knew the difference
                               3   between “open-period” and “closed-period” deletes. UnitedHealth denies the
                               4   remaining allegations in Paragraph 113.
                               5         114. Paragraph 114 states legal conclusions to which no response is
                               6   required. To the extent that Paragraph 114 contains any factual allegations
                               7   regarding UnitedHealth, such allegations are denied. UnitedHealth denies the
                               8   remaining allegations in Paragraph 114.
                               9                              THE FALSE CLAIMS ACT
                          10             115. To the extent the allegations in Paragraph 115 relate to claims that
                          11       have been dismissed, they are surplusage and should be stricken. Paragraph 115
                          12       contains no allegations with respect to a particular Defendant or claim, and
                          13       therefore no response is required. However, to the extent Paragraph 115 purports
                          14       to summarize and/or describe the provisions of the FCA, UnitedHealth states that
                          15       the FCA speaks for itself, and to the extent that the allegations in Paragraph 115
                          16       vary therefrom or with other applicable statutory or decisional law, UnitedHealth
                          17       denies those allegations. UnitedHealth denies the remaining allegations in
                          18       Paragraph 115. Paragraph 115 also states legal conclusions to which no response
                          19       is required.
                          20             116. To the extent the allegations in Paragraph 116 relate to claims that
                          21       have been dismissed, they are surplusage and should be stricken. Paragraph 116
                          22       contains no allegations with respect to a particular Defendant or claim, and
                          23       therefore no response is required. However, to the extent Paragraph 116 purports
                          24       to summarize and/or describe the provisions of the FCA or the Fraud Enforcement
                          25       and Recovery Act of 2009 (“FERA”), UnitedHealth states that the FCA and FERA
                          26       speak for themselves, and to the extent that the allegations in Paragraph 116 vary
                          27       therefrom or with other applicable statutory or decisional law, UnitedHealth denies
                          28       those allegations. UnitedHealth denies the remaining allegations in Paragraph 116.
                                                                           36
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                               1         117. To the extent the allegations in Paragraph 117 relate to claims that
                               2   have been dismissed, they are surplusage and should be stricken. Paragraph 117
                               3   contains no allegations with respect to a particular Defendant or claim, and
                               4   therefore no response is required. However, to the extent Paragraph 117 purports
                               5   to summarize and/or describe the provisions of the FCA or FERA, UnitedHealth
                               6   states that the FCA and FERA speak for themselves, and to the extent that the
                               7   allegations in Paragraph 117 vary therefrom or with other applicable statutory or
                               8   decisional law, UnitedHealth denies those allegations. UnitedHealth denies the
                               9   remaining allegations in Paragraph 117.
                          10             118. Paragraph 118 contains no allegations with respect to a particular
                          11       Defendant or claim, and therefore no response is required. However, to the extent
                          12       Paragraph 118 purports to summarize and/or describe the provisions of the FCA or
                          13       FERA, UnitedHealth states that the FCA and FERA speak for themselves, and to
                          14       the extent that the allegations in Paragraph 118 vary therefrom or with other
                          15       applicable statutory or decisional law, UnitedHealth denies those allegations.
                          16       Paragraph 118 also states legal conclusions to which no response is required.
                          17       UnitedHealth denies the remaining allegations in Paragraph 118.
                          18             119. Paragraph 119 contains no allegations with respect to a particular
                          19       Defendant or claim, and therefore no response is required. However, to the extent
                          20       Paragraph 119 purports to summarize and/or describe the provisions of the FCA or
                          21       FERA, UnitedHealth states that the FCA and FERA speak for themselves, and to
                          22       the extent that the allegations in Paragraph 119 vary therefrom or with other
                          23       applicable statutory or decisional law, UnitedHealth denies those allegations.
                          24       UnitedHealth denies the remaining allegations in Paragraph 119.
                          25             120. Paragraph 120 contains no allegations with respect to a particular
                          26       Defendant or claim, and therefore no response is required. However, to the extent
                          27       Paragraph 120 purports to describe the provisions of the FCA, UnitedHealth states
                          28       that the FCA speaks for itself, and to the extent that the allegations in Paragraph
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                               1   120 vary therefrom or with other applicable statutory or decisional law, such as
                               2   Universal Health Services, Inc. v. United States ex rel. Escobar, 136 S. Ct. 1989
                               3   (2016), UnitedHealth denies those allegations. UnitedHealth denies the remaining
                               4   allegations in Paragraph 120.
                               5         121. Paragraph 121 contains no allegations with respect to a particular
                               6   Defendant or claim, and therefore no response is required. However, to the extent
                               7   Paragraph 121 purports to summarize and/or describe the provisions of the FCA
                               8   and the Bipartisan Budget Act of 2015, Public Law 114-74 (No. 2, 2015) (“BBA”),
                               9   UnitedHealth states that the FCA and BBA speak for themselves, and to the extent
                          10       that the allegations in Paragraph 121 vary therefrom or with other applicable
                          11       statutory or decisional law, UnitedHealth denies those allegations. UnitedHealth
                          12       denies the remaining allegations in Paragraph 121.
                          13                                          THE FACTS
                          14             122. UnitedHealth admits that since at least 2005, certain Defendants
                          15       conducted a Chart Review program in which millions of medical records were
                          16       reviewed. To the extent Paragraph 122 purports to describe a document, the
                          17       document speaks for itself and, as such, no response is required. UnitedHealth
                          18       denies the remaining allegations in Paragraph 122.
                          19       I.    Defendants Knew That Many Provider-Reported Diagnoses Were
                          20             Invalid And That They Were Obligated To Undertake Good Faith
                          21             Efforts To Identify And Delete Them1
                          22             123. UnitedHealth admits that in connection with its acquisition of
                          23       PacifiCare in 2005, UnitedHealth retained some PacifiCare employees who had
                          24       experience performing work relating to risk adjustment. UnitedHealth denies the
                          25       remaining allegations in Paragraph 123.
                          26

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                                    The headings and sub-headings throughout the Amended Complaint do not
                                   constitute well-pleaded allegations of fact and therefore require no response.
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                               1         124. UnitedHealth admits that Jeffrey Dumcum, Stephanie Will, Pam Holt,
                               2   and Pam Leal were former employees of PacifiCare who worked in risk
                               3   adjustment. UnitedHealth admits that Dumcum joined UnitedHealth as Director of
                               4   Finance at UnitedHealthcare; that Will joined UnitedHealth as Manager of
                               5   Finance; that Holt joined UnitedHealth as Manager of Network Operations at
                               6   UnitedHealthcare; and that Leal joined UnitedHealth as Director of Network
                               7   Management at UnitedHealthcare. UnitedHealth is without knowledge or
                               8   information sufficient to form a belief as to the truth or falsity of the remaining
                               9   allegations in Paragraph 124 regarding Holt and Leal’s positions at PacifiCare
                          10       before they joined UnitedHealth; therefore, such allegations are denied.
                          11       UnitedHealth denies the remaining allegations in Paragraph 124.
                          12             125. UnitedHealth admits that from 2005 to 2007, Dumcum and Gardner
                          13       worked at the PacifiCare office in Santa Ana, California, and Holt and Leal worked
                          14       at the PacifiCare office in Cypress, California. UnitedHealth admits that in March
                          15       2007, Holt and Leal transferred to an office in Santa Ana, California.
                          16       UnitedHealth denies the remaining allegations in Paragraph 125.
                          17             126. To the extent Paragraph 126 purports to describe a document or
                          18       documents, such documents speak for themselves and, as such, no response is
                          19       required. UnitedHealth is without knowledge or information sufficient to form a
                          20       belief as to the truth or falsity of the remaining allegations in Paragraph 126;
                          21       therefore, such allegations are denied. UnitedHealth denies the remaining
                          22       allegations in Paragraph 126.
                          23             127. UnitedHealth admits that the Industry Collaboration Effort (“ICE”)
                          24       was a volunteer, multi-disciplinary team of providers, health plans, associations,
                          25       state and federal agencies, and accrediting bodies working collaboratively to
                          26       improve healthcare regulatory compliance through education of the public.
                          27       UnitedHealth admits that ICE had a Risk Adjustment Data Acquisition &
                          28       Reporting (“RADAR”) team. UnitedHealth further admits that after UnitedHealth
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                               1   acquired PacifiCare, some former PacifiCare employees participated in ICE and its
                               2   RADAR team. UnitedHealth admits that Leal was the President and a member of
                               3   the Board of Directors of ICE around or before 2007. To the extent Paragraph 127
                               4   purports to describe a document or documents, such documents speak for
                               5   themselves and, as such, no response is required. UnitedHealth denies the
                               6   remaining allegations in Paragraph 127.
                               7          128. To the extent Paragraph 128 purports to describe a document or
                               8   documents, such documents speak for themselves and, as such, no response is
                               9   required. UnitedHealth denies the remaining allegations in Paragraph 128.
                          10              129. To the extent Paragraph 129 describes these documents, such
                          11       documents speak for themselves and, as such, no response is required.
                          12       UnitedHealth is without knowledge or information sufficient to form a belief as to
                          13       the truth or falsity of the remaining allegations in Paragraph 129; therefore, such
                          14       allegations are denied. UnitedHealth denies the remaining allegations in Paragraph
                          15       129.
                          16              130. To the extent Paragraph 130 purports to describe a document or
                          17       documents, such documents speak for themselves and, as such, no response is
                          18       required. UnitedHealth is without knowledge or information sufficient to form a
                          19       belief as to the truth or falsity of the remaining allegations in Paragraph 130;
                          20       therefore, such allegations are denied. UnitedHealth denies the remaining
                          21       allegations in Paragraph 130.
                          22              131. To the extent Paragraph 131 purports to describe a document or
                          23       documents, such documents speak for themselves and, as such, no response is
                          24       required. UnitedHealth is without knowledge or information sufficient to form a
                          25       belief as to the truth or falsity of the remaining allegations in Paragraph 131;
                          26       therefore, such allegations are denied.
                          27              132. UnitedHealth admits that the former PacifiCare employees were
                          28       aware that CMS could audit the diagnoses MA Organizations submitted for risk
                                                                          40
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                               1   adjustment payments. UnitedHealth denies the remaining allegations in Paragraph
                               2   132.
                               3          133. To the extent Paragraph 133 purports to describe a document or
                               4   documents, such documents speak for themselves and, as such, no response is
                               5   required. UnitedHealth is without knowledge or information sufficient to form a
                               6   belief as to the truth or falsity of the remaining allegations in Paragraph 133;
                               7   therefore, such allegations are denied. UnitedHealth denies the remaining
                               8   allegations in Paragraph 133.
                               9          134. To the extent Paragraph 134 purports to describe a document or
                          10       documents, such documents speak for themselves and, as such, no response is
                          11       required. UnitedHealth denies the remaining allegations in Paragraph 134.
                          12              135. UnitedHealth admits that after UnitedHealth’s acquisition of
                          13       PacifiCare, Jeff Dumcum gave presentations to various UnitedHealth employees
                          14       regarding provider coding. To the extent Paragraph 135 purports to describe
                          15       documents, the documents speak for themselves and, as such, no response is
                          16       required. UnitedHealth is without knowledge or information sufficient to form a
                          17       belief as to the truth or falsity of the remaining allegations in Paragraph 135;
                          18       therefore, such allegations are denied. UnitedHealth denies the remaining
                          19       allegations in Paragraph 135.
                          20              136. To the extent Paragraph 136 purports to describe a document or
                          21       documents, such documents speak for themselves and, as such, no response is
                          22       required. UnitedHealth denies the remaining allegations in Paragraph 136.
                          23              137. UnitedHealth admits that in or about 2007, certain risk adjustment
                          24       operations moved to Ingenix. Additionally, UnitedHealth admits that Ingenix
                          25       served commercial clients. To the extent Paragraph 137 purports to describe a
                          26       document or documents, such documents speak for themselves and, as such, no
                          27       response is required. UnitedHealth denies the remaining allegations in Paragraph
                          28       137.
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                               1          138. To the extent Paragraph 138 purports to describe a document or
                               2   documents, such documents speak for themselves and, as such, no response is
                               3   required. UnitedHealth is without knowledge or information sufficient to form a
                               4   belief as to the truth or falsity of the allegations in Paragraph 138; therefore, such
                               5   allegations are denied. UnitedHealth denies the remaining allegations in Paragraph
                               6   138.
                               7          139. UnitedHealth admits that it implemented an internal data validation
                               8   program on or about 2007 or 2008. To the extent Paragraph 139 purports to
                               9   describe a document or documents, the documents speak for themselves and, as
                          10       such, no response is required. UnitedHealth denies the remaining allegations in
                          11       Paragraph 139.
                          12              140. To the extent Paragraph 140 purports to describe a document or
                          13       documents, such documents speak for themselves and, as such, no response is
                          14       required. UnitedHealth is without knowledge or information sufficient to form a
                          15       belief as to the truth or falsity of the allegations in Paragraph 140; therefore, such
                          16       allegations are denied. UnitedHealth denies the remaining allegations in Paragraph
                          17       140.
                          18              141. UnitedHealth admits that CMS performed RADV audits.
                          19       UnitedHealth admits that Ingenix and then Optum performed IDV and RACCR to
                          20       review provider-reported diagnoses. To the extent Paragraph 141 purports to
                          21       describe a document or documents, such documents speak for themselves and, as
                          22       such, no response is required. UnitedHealth denies the remaining allegations in
                          23       Paragraph 141.
                          24              142. To the extent Paragraph 142 purports to describe a document or
                          25       documents, such documents speak for themselves and, as such, no response is
                          26       required. UnitedHealth denies the remaining allegations in Paragraph 142.
                          27              143. UnitedHealth admits that Ingenix implemented an internal data
                          28       validation program in or around 2007 or 2008. To the extent Paragraph 143
                                                                           42
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                               1   purports to describe a document or documents, the documents speak for
                               2   themselves and, as such, no response is required. UnitedHealth denies the
                               3   remaining allegations in Paragraph 143.
                               4         144. To the extent Paragraph 144 purports to describe a document or
                               5   documents, such documents speak for themselves and, as such, no response is
                               6   required. UnitedHealth denies the remaining allegations in Paragraph 144.
                               7         145. To the extent Paragraph 145 purports to describe a document or
                               8   documents, such documents speak for themselves and, as such, no response is
                               9   required. UnitedHealth denies the remaining allegations in Paragraph 145.
                          10             146. To the extent Paragraph 146 purports to describe a document or
                          11       documents, such documents speak for themselves and, as such, no response is
                          12       required. UnitedHealth denies the remaining allegations in Paragraph 146.
                          13             147. UnitedHealth admits that Larry Renfro was the Chief Executive
                          14       Officer of PSMG in or around May 2010. To the extent Paragraph 147 contains
                          15       legal conclusions, no response is required. To the extent Paragraph 147 purports to
                          16       describe a document or documents, such documents speak for themselves and, as
                          17       such, no response is required. Additionally, to the extent Paragraph 147 purports
                          18       to summarize and/or describe the provisions of the Medicare program,
                          19       UnitedHealth states that the Medicare statute and regulations speak for themselves,
                          20       and to the extent that the allegations in Paragraph 147 vary therefrom or with other
                          21       applicable statutory or decisional law, UnitedHealth denies those allegations.
                          22       UnitedHealth denies the remaining allegations in Paragraph 147.
                          23             148. UnitedHealth admits that Kimberly Halva was UnitedHealth Medicare
                          24       & Retirement’s Finance Compliance Officer from 2010 to 2013. UnitedHealth
                          25       admits that Scott Theisen was the Chief Financial Officer of UnitedHealthcare
                          26       Medicare & Retirement from in or around 2010 to 2013. To the extent Paragraph
                          27       148 purports to describe a document or documents, such documents speak for
                          28       themselves and, as such, no response is required. To the extent Paragraph 148
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                               1   contains legal conclusions, no response is required. UnitedHealth denies the
                               2   remaining allegations in Paragraph 148.
                               3         149. To the extent Paragraph 149 purports to describe a document or
                               4   documents, such documents speak for themselves and, as such, no response is
                               5   required. UnitedHealth denies the remaining allegations in Paragraph 149.
                               6         150. To the extent the allegations in Paragraph 150 relate to claims that
                               7   have been dismissed, they are surplusage and should be stricken. To the extent
                               8   Paragraph 150 purports to describe a document or documents, such documents
                               9   speak for themselves and, as such, no response is required. UnitedHealth admits
                          10       that, since in or around 2008, certain provider groups submitted attestations to
                          11       some of the UnitedHealth Defendants certifying that the diagnoses that they
                          12       reported to some of the UnitedHealth Defendants were valid and met CMS’s
                          13       requirements. UnitedHealth denies the remaining allegations in Paragraph 150.
                          14             151. To the extent Paragraph 151 purports to describe a document or
                          15       documents, such documents speak for themselves and, as such, no response is
                          16       required. UnitedHealth denies the remaining allegations in Paragraph 151.
                          17             152. To the extent Paragraph 152 purports to describe a document or
                          18       documents, such documents speak for themselves and, as such, no response is
                          19       required. To the extent a response is required, UnitedHealth denies the allegations
                          20       in Paragraph 152.
                          21             153. To the extent Paragraph 153 purports to describe a document or
                          22       documents, such documents speak for themselves and, as such, no response is
                          23       required. UnitedHealth denies the remaining allegations in Paragraph 153.
                          24             154. To the extent Paragraph 154 purports to describe a document or
                          25       documents, such documents speak for themselves and, as such, no response is
                          26       required. UnitedHealth denies the remaining allegations in Paragraph 154.
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                               1         155. To the extent Paragraph 155 purports to describe a document or
                               2   documents, such documents speak for themselves and, as such, no response is
                               3   required. UnitedHealth denies the remaining allegations in Paragraph 155.
                               4         156. To the extent Paragraph 156 purports to describe a document or
                               5   documents, such documents speak for themselves and, as such, no response is
                               6   required. UnitedHealth denies the remaining allegations in Paragraph 156.
                               7         157. UnitedHealth admits that UnitedHealthcare Medicare & Retirement
                               8   implemented the program eventually known as the RACCR program in or about
                               9   2009. To the extent Paragraph 157 purports to describe a document or documents,
                          10       such documents speak for themselves and, as such, no response is required. To the
                          11       extent Paragraph 157 states a legal conclusion, no response is required.
                          12       UnitedHealth denies the remaining allegations in Paragraph 157.
                          13             158. UnitedHealth admits that its Claims Verification (“CV”) program was
                          14       implemented in phases, that Phase I of the CV Program was performed in or
                          15       around 2010, and that Phase II of the CV Program was performed in or around late
                          16       2011 or early 2012. To the extent Paragraph 158 purports to describe a document
                          17       or documents, such documents speak for themselves and, as such, no response is
                          18       required. UnitedHealth denies the remaining allegations in Paragraph 158.
                          19             159. To the extent Paragraph 159 purports to describe a document or
                          20       documents, such documents speak for themselves and, as such, no response is
                          21       required. UnitedHealth denies the remaining allegations in Paragraph 159.
                          22             160. To the extent Paragraph 160 purports to describe a document or
                          23       documents, such documents speak for themselves and, as such, no response is
                          24       required. UnitedHealth denies the remaining allegations in Paragraph 160.
                          25             161. To the extent that Paragraph 161 contains legal conclusions, no
                          26       response is required. To the extent Paragraph 161 purports to describe a document
                          27       or documents, such documents speak for themselves and, as such, no response is
                          28       required. UnitedHealth denies the remaining allegations in Paragraph 161.
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                               1         162. To the extent Paragraph 162 purports to describe a document or
                               2   documents, such documents speak for themselves and, as such, no response is
                               3   required. UnitedHealth denies the remaining allegations in Paragraph 162.
                               4         163. To the extent that Paragraph 163 contains legal conclusions, no
                               5   response is required. To the extent Paragraph 163 purports to describe a document
                               6   or documents, such documents speak for themselves and, as such, no response is
                               7   required. UnitedHealth denies the remaining allegations in Paragraph 163.
                               8   II.   Chart Reviews and Claims Verification
                               9         A.     United’s “Look One Way” Chart Review Program
                          10             164. UnitedHealth admits that as part of its Chart Review Program, coders
                          11       reviewed beneficiaries’ medical records. To the extent Paragraph 164 purports to
                          12       describe a document or documents, such documents speak for themselves and, as
                          13       such, no response is required. UnitedHealth denies the remaining allegations in
                          14       Paragraph 164.
                          15             165. UnitedHealth admits that some of the UnitedHealth Defendants have
                          16       performed some form of Chart Review since 2005. UnitedHealth admits that
                          17       Dumcum and Will became key participants in the Chart Review Program and that
                          18       Will was the Program Manager of the Chart Review Program. UnitedHealth is
                          19       without knowledge or information as to the identity of the “other former
                          20       PacificCare employees sufficient to form a belief as to the truth or falsity of the
                          21       remaining allegations in Paragraph 165; therefore, such allegations are denied.
                          22       UnitedHealth denies the remaining allegations in Paragraph 165.
                          23             166. UnitedHealth admits that hundreds of thousands of charts were
                          24       reviewed over the first few years of the Chart Review Program. To the extent
                          25       Paragraph 166 purports to describe a document or documents, such documents
                          26       speak for themselves and, as such, no response is required. UnitedHealth denies
                          27       the remaining allegations in Paragraph 166.
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                               1         167. UnitedHealth admits that UnitedHealth Group Incorporated acquired
                               2   AIM Healthcare Services, Inc. in or around 2009. UnitedHealth admits that in or
                               3   about 2010, Ingenix developed ChartSync—an in-house chart review computer
                               4   database system that allowed coders to review medical records electronically—and
                               5   that in or about 2012 and 2011, Ingenix opened offices in the Philippines and
                               6   India, respectively, where coders could review codes. UnitedHealth denies the
                               7   remaining allegations in Paragraph 167.
                               8         168. To the extent Paragraph 168 purports to describe a document or
                               9   documents, such documents speak for themselves and, as such, no response is
                          10       required. UnitedHealth denies the remaining allegations in Paragraph 168.
                          11             169. To the extent Paragraph 169 purports to describe a document or
                          12       documents, such documents speak for themselves and, as such, no response is
                          13       required. UnitedHealth denies the remaining allegations in Paragraph 169.
                          14             170. UnitedHealth admits that Ingenix and then Optum or their vendors
                          15       obtained medical records from fee-for-service providers in numerous places in the
                          16       United States. UnitedHealth admits that Ingenix and then Optum or their vendors
                          17       sent some of these medical records to coders employed in Tennessee, India, and
                          18       the Philippines. UnitedHealth admits that Ingenix and then Optum hired coding
                          19       vendors located in various locations within and outside of the United States to
                          20       review medical records. UnitedHealth denies the remaining allegations in
                          21       Paragraph 170.
                          22             171. UnitedHealth admits chart review was conducted by or on behalf of
                          23       certain physician groups, including WellMed and Southwest Medical Associates.
                          24       UnitedHealth denies the remaining allegations in Paragraph 171.
                          25             172. To the extent Paragraph 172 purports to describe a document or
                          26       documents, such documents speak for themselves and, as such, no response is
                          27       required. UnitedHealth denies the remaining allegations in Paragraph 172.
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                               1          173. To the extent Paragraph 173 purports to describe a document or
                               2   documents, such documents speak for themselves and, as such, no response is
                               3   required. UnitedHealth denies the remaining allegations in Paragraph 173.
                               4          174. To the extent Paragraph 174 purports to describe a document or
                               5   documents, such documents speak for themselves and, as such, no response is
                               6   required. UnitedHealth denies the remaining allegations in Paragraph 174.
                               7          175. UnitedHealth admits that its Chart Review Program was conducted
                               8   according to an annual cycle. To the extent Paragraph 175 purports to describe a
                               9   document or documents, such documents speak for themselves and, as such, no
                          10       response is required. UnitedHealth denies the remaining allegations in Paragraph
                          11       175.
                          12              176. UnitedHealth admits that some of the UnitedHealth Defendants had
                          13       revenue estimates for the Chart Review Program. UnitedHealth admits that some
                          14       of the UnitedHealth Defendants identified more codes supported by records
                          15       through subsequent reviews. To the extent Paragraph 176 purports to describe a
                          16       document or documents, such documents speak for themselves and, as such, no
                          17       response is required. UnitedHealth denies the remaining allegations in Paragraph
                          18       176.
                          19              177. To the extent the allegations in Paragraph 177 relate to claims that
                          20       have been dismissed, they are surplusage and should be stricken. To the extent
                          21       Paragraph 177 states legal conclusions, no response is required. UnitedHealth
                          22       denies the remaining allegations in Paragraph 177.
                          23              B.    United Knew It Was Obligated To Look Both Ways At The
                          24                    Results Of Its Chart Reviews And Make DELETES As Well As
                          25                    ADDS
                          26              178. To the extent Paragraph 178 purports to describe a document, the
                          27       document speaks for itself and, as such, no response is required. UnitedHealth is
                          28       without knowledge or information sufficient to form a belief as to the truth or
                                                                          48
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                               1   falsity of Poehling’s discussions and the allegations in Paragraph 178.
                               2   UnitedHealth denies the remaining allegations in Paragraph 178.
                               3          179. UnitedHealth denies that there were problems related to the diagnoses
                               4   reported by providers paid on a fee-for-service basis. To the extent Paragraph 179
                               5   purports to describe a document, the document speaks for itself and, as such, no
                               6   response is required. UnitedHealth is without knowledge or information sufficient
                               7   to form a belief as to the truth or falsity of the remaining allegations in Paragraph
                               8   179; therefore, such allegations are denied. UnitedHealth denies the remaining
                               9   allegations in Paragraph 179.
                          10              180. To the extent Paragraph 180 purports to describe a document or
                          11       documents, such documents speak for themselves and, as such, no response is
                          12       required. UnitedHealth is without knowledge or information sufficient to form a
                          13       belief as to the truth or falsity of the allegations in Paragraph 180; therefore, such
                          14       allegations are denied.
                          15              181. To the extent Paragraph 181 purports to describe a document or
                          16       documents, such documents speak for themselves and, as such, no response is
                          17       required. UnitedHealth is without knowledge or information sufficient to form a
                          18       belief as to the truth or falsity of the allegations in Paragraph 181; therefore, such
                          19       allegations are denied. UnitedHealth denies the remaining allegations in Paragraph
                          20       181.
                          21              182. To the extent Paragraph 182 purports to describe a document or
                          22       documents, such documents speak for themselves and, as such, no response is
                          23       required. UnitedHealth denies the remaining allegations in Paragraph 182.
                          24              183. To the extent Paragraph 183 purports to describe a document or
                          25       documents, such documents speak for themselves and, as such, no response is
                          26       required. UnitedHealth denies the remaining allegations in Paragraph 183.
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                               1         184. To the extent Paragraph 184 purports to describe a document, the
                               2   document speaks for itself and, as such, no response is required. UnitedHealth
                               3   denies the remaining allegations in Paragraph 184.
                               4         185. To the extent Paragraph 185 purports to describe a document, the
                               5   document speaks for itself and, as such, no response is required. To the extent
                               6   Paragraph 186 states legal conclusions, no response is required. UnitedHealth
                               7   denies the remaining allegations in Paragraph 185.
                               8         186. UnitedHealth admits that Paul Bihm was a Vice President of General
                               9   Management at Optum in or around 2011. To the extent Paragraph 186 purports to
                          10       describe a document, the document speaks for itself and, as such, no response is
                          11       required. UnitedHealth denies the remaining allegations in Paragraph 186.
                          12             187. To the extent Paragraph 187 purports to describe a document or
                          13       documents, such documents speak for themselves and, as such, no response is
                          14       required. UnitedHealth denies the remaining allegations in Paragraph 187.
                          15             188. UnitedHealth admits that Eric Murphy was the President of Payer
                          16       Solutions at Optum in or around December 2011. To the extent Paragraph 188
                          17       purports to describe a document or documents, such documents speak for
                          18       themselves and, as such, no response is required. UnitedHealth denies the
                          19       remaining allegations in Paragraph 188.
                          20             189. To the extent Paragraph 189 purports to describe a document or
                          21       documents, such documents speak for themselves and, as such, no response is
                          22       required. UnitedHealth denies the remaining allegations in Paragraph 189.
                          23             190. UnitedHealth admits that William Miller was the Chief Executive
                          24       Officer of OptumInsight in or around September 2012. To the extent Paragraph
                          25       190 purports to describe a document or documents, such documents speak for
                          26       themselves and, as such, no response is required. To the extent Paragraph 190
                          27       states legal conclusions, no response is required. UnitedHealth denies the
                          28       remaining allegations in Paragraph 190.
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                               1          191. UnitedHealth admits that prior to 2012, coders reviewed medical
                               2   records at providers’ offices if the coder could not review the records electronically
                               3   because the provider did not want UnitedHealth to copy the record. UnitedHealth
                               4   further admits that UnitedHealthcare Medicare & Retirement made a policy
                               5   decision to stop this practice. To the extent Paragraph 191 purports to describe a
                               6   document or documents, such documents speak for themselves and, as such, no
                               7   response is required. UnitedHealth denies the remaining allegations in Paragraph
                               8   191.
                               9          192. To the extent Paragraph 193 purports to describe a document or
                          10       documents, such documents speak for themselves and, as such, no response is
                          11       required. UnitedHealth denies the remaining allegations in Paragraph 193.
                          12              193. To the extent Paragraph 193 purports to describe a document or
                          13       documents, such documents speak for themselves and, as such, no response is
                          14       required. UnitedHealth denies the remaining allegations in Paragraph 193.
                          15              194. To the extent Paragraph 194 purports to describe a document or
                          16       documents, such documents speak for themselves and, as such, no response is
                          17       required. UnitedHealth denies the remaining allegations in Paragraph 194.
                          18              195. To the extent Paragraph 195 purports to describe a document or
                          19       documents, such documents speak for themselves and, as such, no response is
                          20       required. UnitedHealth is without knowledge or information sufficient to form a
                          21       belief as to the truth or falsity of the remaining allegations in Paragraph 195;
                          22       therefore, such allegations are denied.
                          23              C.    United’s Short-lived “Look Both Ways” Claims Verification
                          24                    Program
                          25              196. To the extent Paragraph 196 purports to describe a document or
                          26       documents, such documents speak for themselves and, as such, no response is
                          27       required. UnitedHealth denies the remaining allegations in Paragraph 196.
                          28
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                               1         197. To the extent Paragraph 197 purports to describe a document or
                               2   documents, such documents speak for themselves and, as such, no response is
                               3   required. UnitedHealth denies the remaining allegations in Paragraph 197.
                               4         198. To the extent Paragraph 198 purports to describe a document or
                               5   documents, such documents speak for themselves and, as such, no response is
                               6   required. UnitedHealth denies the remaining allegations in Paragraph 198.
                               7         199. To the extent Paragraph 199 purports to describe a document or
                               8   documents, such documents speak for themselves and, as such, no response is
                               9   required. UnitedHealth denies the remaining allegations in Paragraph 199.
                          10             200. To the extent Paragraph 200 purports to describe a document or
                          11       documents, such documents speak for themselves and, as such, no response is
                          12       required. UnitedHealth denies the remaining allegations in Paragraph 200.
                          13             201. UnitedHealth admits that in or around 2012, UnitedHealthcare
                          14       Medicare & Retirement sent letters to capitated providers. To the extent Paragraph
                          15       201 purports to describe a document or documents, such documents speak for
                          16       themselves and, as such, no response is required. UnitedHealth denies the
                          17       remaining allegations in Paragraph 201.
                          18             202. UnitedHealth admits that UnitedHealthcare Medicare & Retirement
                          19       and Optum developed and implemented CV in phases over several years.
                          20       UnitedHealth admits that when there was a discrepancy between the provider-
                          21       reported diagnoses and the diagnosis codes identified by the coder as part of the
                          22       Chart Review Program, Optum undertook an additional review of the medical
                          23       record. UnitedHealth admits Optum did not delete diagnosis codes that were found
                          24       to be adequately supported by the medical record. To the extent Paragraph 202
                          25       purports to describe a document or documents, such documents speak for
                          26       themselves and, as such, no response is required. To the extent Paragraph 202
                          27       states legal conclusions, no response is required. UnitedHealth denies the
                          28       remaining allegations in Paragraph 202.
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                               1          203. UnitedHealth admits that Optum did not generally contact providers
                               2   during the CV process. UnitedHealth denies the remaining allegations in
                               3   Paragraph 203.
                               4          204. To the extent Paragraph 204 purports to describe a document or
                               5   documents, such documents speak for themselves and, as such, no response is
                               6   required. To the extent Paragraph 204 states legal conclusions, no response is
                               7   required. UnitedHealth denies the remaining allegations in Paragraph 204.
                               8          205. UnitedHealth denies the allegations in Paragraph 205.
                               9          206. To the extent Paragraph 206 purports to describe a document or
                          10       documents, such documents speak for themselves and, as such, no response is
                          11       required. UnitedHealth denies the remaining allegations in Paragraph 206.
                          12              207. UnitedHealth admits that as part of Phase I, Ingenix sometimes
                          13       contacted providers to determine whether or not there were additional medical
                          14       records for particular beneficiaries. To the extent Paragraph 207 purports to
                          15       describe a document or documents, such documents speak for themselves and, as
                          16       such, no response is required. UnitedHealth denies the remaining allegations in
                          17       Paragraph 207.
                          18              208. UnitedHealth admits that Optum began conducting Phase II of its CV
                          19       Program in approximately mid-2011 and that Phase II was completed in
                          20       approximately early 2012. To the extent Paragraph 208 purports to describe a
                          21       document or documents, such documents speak for themselves and, as such, no
                          22       response is required. To the extent Paragraph 208 states legal conclusions, no
                          23       response is required. UnitedHealth denies the remaining allegations in Paragraph
                          24       208.
                          25              209. UnitedHealth admits that Optum began the Phase III pilot in or about
                          26       mid-2012. UnitedHealth admits that the Phase III pilot included a review of
                          27       approximately 5,000 charts relating to encounters that took place in calendar year
                          28       2011. To the extent Paragraph 209 purports to describe a document or documents,
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                               1   such documents speak for themselves and, as such, no response is required.
                               2   UnitedHealth denies the remaining allegations in Paragraph 209.
                               3          210. To the extent Paragraph 210 purports to describe a document or
                               4   documents, such documents speak for themselves and, as such, no response is
                               5   required. UnitedHealth denies the remaining allegations in Paragraph 210.
                               6          211. UnitedHealth admits that the CV Program continued to evolve after
                               7   research regarding how to structure the CV Program to best meet the goals of
                               8   identifying diagnosis codes that were unsupported by the medical record.
                               9   UnitedHealth admits that, as a result of that research, UnitedHealthcare Medicare
                          10       & Retirement added an expert-level review to the CV process. UnitedHealth
                          11       admits that UnitedHealthcare Medicare & Retirement discontinued its CV Program
                          12       in 2014. UnitedHealth denies the remaining allegations in Paragraph 211.
                          13              212. UnitedHealth admits that certain eligibility criteria were applied to
                          14       determine eligibility for inclusion in the CV Program. To the extent Paragraph 212
                          15       purports to describe a document, the document speaks for itself and, as such, no
                          16       response is required. To the extent Paragraph 213 states legal conclusions, no
                          17       response is required. UnitedHealth denies the remaining allegations in Paragraph
                          18       212.
                          19              213. UnitedHealth admits that, in or about 2013, UnitedHealthcare
                          20       Medicare & Retirement decided to add an expert-level review to the CV process.
                          21       To the extent Paragraph 213 purports to describe a document, the document speaks
                          22       for itself and, as such, no response is required. UnitedHealth denies the remaining
                          23       allegations in Paragraph 213.
                          24              214. To the extent Paragraph 214 states legal conclusions, no response is
                          25       required. UnitedHealth denies the remaining allegations in Paragraph 214.
                          26              215. To the extent Paragraph 215 purports to describe a document or
                          27       documents, such documents speak for themselves and, as such, no response is
                          28       required. UnitedHealth denies the remaining allegations in Paragraph 215.
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                               1          216. To the extent Paragraph 216 purports to describe a document or
                               2   documents, such documents speak for themselves and, as such, no response is
                               3   required. UnitedHealth denies the remaining allegations in Paragraph 216.
                               4          217. To the extent Paragraph 217 purports to describe a document or
                               5   documents, such documents speak for themselves and, as such, no response is
                               6   required. UnitedHealth denies the remaining allegations in Paragraph 217.
                               7          218. To the extent Paragraph 218 purports to describe a document or
                               8   documents, such documents speak for themselves and, as such, no response is
                               9   required. UnitedHealth denies the remaining allegations in Paragraph 218.
                          10              219. To the extent Paragraph 219 purports to describe a document or
                          11       documents, such documents speak for themselves and, as such, no response is
                          12       required. UnitedHealth denies the remaining allegations in Paragraph 219.
                          13              220. To the extent Paragraph 220 purports to describe a document or
                          14       documents, such documents speak for themselves and, as such, no response is
                          15       required. UnitedHealth denies the remaining allegations in Paragraph 220.
                          16              221. UnitedHealth admits that Marybeth Meyer assumed Mr. Poehling’s
                          17       role after he left the Company. To the extent Paragraph 221 purports to describe a
                          18       document or documents, such documents speak for themselves and, as such, no
                          19       response is required. UnitedHealth denies the remaining allegations in Paragraph
                          20       221.
                          21              222. To the extent Paragraph 222 purports to describe a document or
                          22       documents, such documents speak for themselves and, as such, no response is
                          23       required. UnitedHealth denies the remaining allegations in Paragraph 222.
                          24              223. UnitedHealth admits that, before UnitedHealthcare Medicare &
                          25       Retirement discontinued the CV Program, UnitedHealthcare Medicare &
                          26       Retirement and Optum sought guidance from CMS about the retroactivity of a
                          27       proposed regulation requiring MA Organizations to design all medical record
                          28       reviews to validate diagnoses submitted to CMS (“Proposed Rule”). To the extent
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                               1   Paragraph 223 purports to describe a document or documents, such documents
                               2   speak for themselves and, as such, no response is required. UnitedHealth denies
                               3   the remaining allegations in Paragraph 223.
                               4          224. UnitedHealth admits that Larry Renfro, the Chief Executive Officer of
                               5   Optum, contacted senior government employees at CMS, including the
                               6   Administrator of CMS, to ask whether UnitedHealth had an obligation to perform
                               7   CV before the effective date of the Proposed Rule. To the extent Paragraph 224
                               8   purports to describe a document, the document speaks for itself and, as such, no
                               9   response is required. UnitedHealth denies the remaining allegations in Paragraph
                          10       224.
                          11              225. UnitedHealth admits that on April 8, 2014, Renfro spoke with the
                          12       CMS Administrator regarding UnitedHealth’s obligation to perform CV in light of
                          13       the Proposed Rule. To the extent Paragraph 225 purports to describe a document
                          14       or documents, such documents speak for themselves and, as such, no response is
                          15       required. UnitedHealth denies the remaining allegations in Paragraph 225.
                          16              226. UnitedHealth admits that Nelson, Schumacher, Erickson, and Johnson
                          17       went to Washington, D.C. on April 29, 2014 to speak with CMS employees
                          18       responsible for the Medicare Advantage Program, including Cheri Rice, the
                          19       Director of the Medicare Plan Payment Group at CMS. To the extent Paragraph
                          20       226 purports to describe a document or documents, such documents speak for
                          21       themselves and, as such, no response is required. To the extent Paragraph 226
                          22       states legal conclusions, no response is required. UnitedHealth denies the
                          23       remaining allegations in Paragraph 226.
                          24              227. To the extent Paragraph 227 purports to describe a document or
                          25       documents, such documents speak for themselves and, as such, no response is
                          26       required. UnitedHealth denies the remaining allegations in Paragraph 227.
                          27              228. To the extent the allegations in Paragraph 228 relate to claims that
                          28       have been dismissed, they are surplusage and should be stricken. To the extent
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                               1   Paragraph 228 purports to describe a document or documents, such documents
                               2   speak for themselves and, as such, no response is required. UnitedHealth denies
                               3   the remaining allegations in Paragraph 228.
                               4         229. UnitedHealth admits that the Department of Justice sent a letter to
                               5   UnitedHealth’s counsel after Rice sent her May 2 email. To the extent Paragraph
                               6   229 purports to describe a document or documents, such documents speak for
                               7   themselves and, as such, no response is required. UnitedHealth denies the
                               8   remaining allegations in Paragraph 229.
                               9         230. To the extent Paragraph 230 purports to describe a document or
                          10       documents, such documents speak for themselves and, as such, no response is
                          11       required. UnitedHealth denies the remaining allegations in Paragraph 230.
                          12             231. UnitedHealth admits that UnitedHealthcare Medicare & Retirement
                          13       decided to discontinue its CV Program on or about May 27, 2014. To the extent
                          14       Paragraph 231 purports to describe a document or documents, such documents
                          15       speak for themselves and, as such, no response is required. UnitedHealth denies
                          16       the remaining allegations in Paragraph 231.
                          17             232. UnitedHealth denies the allegations in Paragraph 232.
                          18             233. UnitedHealth admits that Optum continued performing chart review
                          19       for UnitedHealthcare after CV was discontinued. To the extent Paragraph 233
                          20       states legal conclusions, no response is required. UnitedHealth denies the
                          21       remaining allegations in Paragraph 233.
                          22             234. To the extent Paragraph 234 purports to describe a document or
                          23       documents, such documents speak for themselves and, as such, no response is
                          24       required. UnitedHealth denies the remaining allegations in Paragraph 234.
                          25             D.    United Failed to Delete Diagnoses Invalidated By Its Own Chart
                          26                   Review Program
                          27             235. To the extent Paragraph 235 purports to describe a document, the
                          28       document speaks for itself and, as such, no response is required. To the extent
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                               1   Paragraph 235 states legal conclusions, no response is required. UnitedHealth is
                               2   without knowledge or information sufficient to form a belief as to the truth or
                               3   falsity of the allegations in Paragraph 235; therefore, such allegations are denied.
                               4   UnitedHealth denies the remaining allegations in Paragraph 235.
                               5          236. To the extent that Paragraph 236 contains legal conclusions, no
                               6   response is required. UnitedHealth denies the remaining allegations in Paragraph
                               7   236.
                               8          237. To the extent that Paragraph 237 contains legal conclusions, no
                               9   response is required. UnitedHealth is without knowledge or information sufficient
                          10       to form a belief as to the truth or falsity of the allegations in Paragraph 237;
                          11       therefore, such allegations are denied. UnitedHealth denies the remaining
                          12       allegations in Paragraph 237.
                          13              238. To the extent Paragraph 238 purports to describe the Complaint, the
                          14       Complaint is a legal document that speaks for itself and, as such, no response is
                          15       required. To the extent that Paragraph 238 contains any factual allegations
                          16       regarding UnitedHealth, such allegations are denied. UnitedHealth is without
                          17       knowledge or information sufficient to form a belief as to the truth or falsity of the
                          18       allegations in Paragraph 238; therefore, such allegations are denied. To the extent
                          19       that Paragraph 238 contains legal conclusions, no response is required.
                          20       UnitedHealth denies the remaining allegations in Paragraph 238.
                          21       III.   The RACCR Program
                          22              239. UnitedHealth admits that some of the UnitedHealth Defendants
                          23       conducted the Chart Review and RACCR Programs. To the extent Paragraph 239
                          24       states legal conclusions, no response is required. UnitedHealth denies the
                          25       remaining allegations in Paragraph 239.
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                               1         A.     Defendants Knew That Their Financially-Incentivized Providers
                               2                Were Reporting Invalid Codes
                               3         240. UnitedHealth admits that some of the UnitedHealth Defendants have
                               4   arrangements that are value-based either in full or in part with providers, and to the
                               5   extent Paragraph 240 purports to describe the contracts underlying these
                               6   arrangements, such documents speak for themselves and, as such, no response is
                               7   required. UnitedHealth denies the remaining allegations in Paragraph 240.
                               8         241. UnitedHealth admits that UnitedHealthcare Medicare & Retirement
                               9   implemented RACCR to address and safeguard against potentially inaccurate
                          10       coding by provider groups whose revenue was tied to risk adjustment revenue from
                          11       CMS. To the extent Paragraph 241 states legal conclusions, no response is
                          12       required. UnitedHealth denies the remaining allegations in Paragraph 241.
                          13             242. UnitedHealth admits Ingenix implemented an internal data validation
                          14       program in or about 2007 or 2008. UnitedHealth admits that UnitedHealthcare
                          15       Medicare & Retirement implemented the program eventually known as RACCR
                          16       on or about 2009. UnitedHealth admits that the stated goal of RACCR is to
                          17       address and safeguard against potentially inaccurate coding by provider groups
                          18       whose revenue is tied to risk adjustment revenue from CMS. UnitedHealth denies
                          19       the remaining allegations in Paragraph 242.
                          20             243. To the extent Paragraph 243 states legal conclusions, no response is
                          21       required. UnitedHealth denies the remaining allegations in Paragraph 243.
                          22             B.     UnitedHealthcare Structured The RACCR Program To Limit
                          23                    The Number Of Invalid Diagnosis Codes It Identified
                          24             244. To the extent Paragraph 244 purports to describe a document or
                          25       documents, such documents speak for themselves and, as such, no response is
                          26       required. UnitedHealth denies the remaining allegations in Paragraph 244.
                          27             245. UnitedHealth denies the allegations in Paragraph 245.
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                               1          246. To the extent Paragraph 246 purports to describe a document, the
                               2   document speaks for itself and, as such, no response is required. UnitedHealth is
                               3   without knowledge or information sufficient to form a belief as to the truth or
                               4   falsity of the allegations in Paragraph 246; therefore, such allegations are denied.
                               5   UnitedHealth denies the remaining allegations in Paragraph 246.
                               6          247. UnitedHealth admits that for DOS 2008, 2009, and 2010 RACCR
                               7   reviews, Optum defined outliers as HCCs that provider groups coded with a
                               8   prevalence frequency of greater than 300% of the Optum National Rate
                               9   (sometimes referred to as the national prevalence rate). UnitedHealth is without
                          10       knowledge or information sufficient to form a belief as to the truth or falsity of the
                          11       remaining allegations in Paragraph 247; therefore, such allegations are denied. To
                          12       the extent Paragraph 247 purports to describe a document, the document speaks for
                          13       itself and, as such, no response is required. UnitedHealth denies the remaining
                          14       allegations in Paragraph 247.
                          15              248. UnitedHealth admits that for DOS 2011 and DOS 2012 RACCR
                          16       reviews, Optum defined outliers as HCCs that provider groups coded with a
                          17       prevalence frequency greater than two standard deviations of the Optum National
                          18       Rate, which for those DOS years was calculated based on data from all providers
                          19       classified as Tier 1 provider groups. UnitedHealth denies the remaining
                          20       allegations in Paragraph 248.
                          21              249. UnitedHealth admits that some of its capitated providers are located in
                          22       the Central District of California. UnitedHealth admits that Exhibit 14 lists
                          23       capitated providers involved in RACCR reviews that are also located in the Central
                          24       District of California. UnitedHealth denies the remaining allegations in Paragraph
                          25       249.
                          26              250. UnitedHealth admits that the sample size for 2011 and 2012 dates of
                          27       service RACCR reviews was set at 50 beneficiaries per provider group per HCC
                          28       selected for review. To the extent Paragraph 250 purports to describe a document
                                                                            60
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                               1   or documents, such documents speak for themselves and, as such, no response is
                               2   required. UnitedHealth denies the remaining allegations in Paragraph 250.
                               3          251. UnitedHealth admits that RACCR reviews focused on provider groups
                               4   where the HCCs selected for RACCR reviews did not attain a validation rate of
                               5   greater than 80%. To the extent Paragraph 251 states legal conclusions, no
                               6   response is required. UnitedHealth denies the remaining allegations in Paragraph
                               7   251.
                               8          252. UnitedHealth admits that for DOS 2008 and 2009 RACCR reviews,
                               9   Optum increased the number of members whose charts were reviewed for HCCs
                          10       that did not validate at greater than 80% based on the initial sample and that it
                          11       called this process an “incremental sample.” UnitedHealth admits that RACCR
                          12       reviews focused on provider groups where the HCCs selected for RACCR reviews
                          13       did not attain a validation rate of greater than 80%. To the extent Paragraph 252
                          14       purports to describe a document or documents, such documents speak for
                          15       themselves and, as such, no response is required. To the extent Paragraph 252
                          16       states legal conclusions, no response is required. UnitedHealth denies the
                          17       remaining allegations in Paragraph 252.
                          18              253. UnitedHealth admits that for DOS 2008 through DOS 2011,
                          19       lookbacks focused on instances in which an HCC validated at 80% or less at the
                          20       provider group level during RACCR sample reviews. To the extent Paragraph 253
                          21       purports to describe a document or documents, such documents speak for
                          22       themselves and, as such, no response is required. UnitedHealth denies the
                          23       remaining allegations in Paragraph 253.
                          24              C.    Despite Its Limited Scope, The RACCR Program Confirmed That
                          25                    Financially Incentivized Providers Were Submitting Invalid
                          26                    Diagnosis Codes
                          27              254. UnitedHealth denies the allegations in Paragraph 254.
                          28
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                               1          255. To the extent Paragraph 255 purports to describe a document or
                               2   documents, such documents speak for themselves and, as such, no response is
                               3   required. UnitedHealth denies the remaining allegations in Paragraph 255.
                               4          256. To the extent Paragraph 256 purports to describe a document or
                               5   documents, such documents speak for themselves and, as such, no response is
                               6   required. UnitedHealth denies the remaining allegations in Paragraph 256.
                               7          257. To the extent Paragraph 257 purports to describe a document, the
                               8   document speaks for itself and, as such, no response is required. UnitedHealth
                               9   denies the remaining allegations in Paragraph 257.
                          10              258. To the extent Paragraph 258 purports to describe a document or
                          11       documents, such documents speak for themselves and, as such, no response is
                          12       required. UnitedHealth denies the remaining allegations in Paragraph 258.
                          13              259. To the extent Paragraph 259 purports to describe a document or
                          14       documents, such documents speak for themselves and, as such, no response is
                          15       required. To the extent Paragraph 259 states legal conclusions, no response is
                          16       required. UnitedHealth denies the remaining allegations in Paragraph 259.
                          17              260. To the extent Paragraph 260 purports to describe a document or
                          18       documents, such documents speak for themselves and, as such, no response is
                          19       required. UnitedHealth is without knowledge or information sufficient to form a
                          20       belief as to the truth or falsity of the allegations in Paragraph 260; therefore, such
                          21       allegations are denied. UnitedHealth denies the remaining allegations in Paragraph
                          22       260.
                          23              261. To the extent Paragraph 261 purports to describe a document or
                          24       documents, such documents speak for themselves and, as such, no response is
                          25       required. To the extent Paragraph 261 states legal conclusions, no response is
                          26       required. UnitedHealth denies the remaining allegations in Paragraph 261.
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                               1         262. To the extent Paragraph 262 purports to describe a document or
                               2   documents, such documents speak for themselves and, as such, no response is
                               3   required. UnitedHealth denies the remaining allegations in Paragraph 262.
                               4         263. To the extent Paragraph 263 purports to describe a document or
                               5   documents, such documents speak for themselves and, as such, no response is
                               6   required. UnitedHealth denies the remaining allegations in Paragraph 263.
                               7         264. To the extent Paragraph 264 purports to describe a document or
                               8   documents, such documents speak for themselves and, as such, no response is
                               9   required. UnitedHealth denies the remaining allegations in Paragraph 264.
                          10             D.    UnitedHealthcare Knew It Was Obligated To Delete Invalid
                          11                   Diagnosis Codes Identified Through The RACCR Reviews
                          12             265. To the extent Paragraph 265 states legal conclusions, no response is
                          13       required. To the extent Paragraph 265 purports to describe a document, the
                          14       document speaks for itself and, as such, no response is required. UnitedHealth
                          15       denies the remaining allegations in Paragraph 265.
                          16             266. UnitedHealth admits that Optum deleted diagnosis codes for DOS
                          17       2008 through DOS 2013 as a result of its RACCR reviews. To the extent
                          18       Paragraph 266 purports to describe a document or documents, such documents
                          19       speak for themselves and, as such, no response is required. To the extent
                          20       Paragraph 266 states legal conclusions, no response is required. UnitedHealth
                          21       denies the remaining allegations in Paragraph 266.
                          22             267. To the extent Paragraph 267 purports to describe a document or
                          23       documents, such documents speak for themselves and, as such, no response is
                          24       required. To the extent Paragraph 267 states legal conclusions, no response is
                          25       required. UnitedHealth denies the remaining allegations in Paragraph 267.
                          26             268. To the extent Paragraph 268 purports to describe a document or
                          27       documents, such documents speak for themselves and, as such, no response is
                          28       required. UnitedHealth denies the remaining allegations in Paragraph 268.
                                                                          63
ATTORNEYS AT LAW
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                               1          269. To the extent Paragraph 269 purports to describe a document or
                               2   documents, such documents speak for themselves and, as such, no response is
                               3   required. UnitedHealth denies the remaining allegations in Paragraph 269.
                               4          270. To the extent Paragraph 270 purports to describe a document or
                               5   documents, such documents speak for themselves and, as such, no response is
                               6   required. UnitedHealth denies the remaining allegations in Paragraph 270.
                               7          271. To the extent Paragraph 271 purports to describe a document or
                               8   documents, such documents speak for themselves and, as such, no response is
                               9   required. UnitedHealth denies the remaining allegations in Paragraph 271.
                          10              272. Paragraph 272 states legal conclusions to which no response is
                          11       required. To the extent that Paragraph 272 contains any factual allegations, such
                          12       allegations are denied. UnitedHealth denies the remaining allegations in Paragraph
                          13       272.
                          14              273. Paragraph 273 states legal conclusions to which no response is
                          15       required. To the extent Paragraph 273 contains any factual allegations, such
                          16       allegations are denied. UnitedHealth denies the remaining allegations in Paragraph
                          17       273.
                          18              E.    Defendants Failed To Follow Their Own RACCR Protocol
                          19                    Requiring 100 Percent Reviews
                          20              274. UnitedHealth admits that for DOS 2008 through DOS 2011,
                          21       lookbacks focused on instances in which an HCC validated at 80% or less at the
                          22       provider group level during RACCR sample reviews. To the extent Paragraph 274
                          23       purports to describe a document or documents, such documents speak for
                          24       themselves and, as such, no response is required. UnitedHealth denies the
                          25       remaining allegations in Paragraph 274.
                          26              275. Paragraph 275 contains no allegations with respect to a particular
                          27       Defendant or claim and, as such, no response is required. UnitedHealth denies the
                          28       remaining allegations in Paragraph 275.
                                                                             64
ATTORNEYS AT LAW
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                               1          276. To the extent Paragraph 276 purports to describe a document or
                               2   documents, such documents speak for themselves and, as such, no response is
                               3   required. To the extent Paragraph 276 states legal conclusions, no response is
                               4   required. UnitedHealth denies the remaining allegations in Paragraph 276.
                               5          277. To the extent Paragraph 277 purports to describe a document or
                               6   documents, such documents speak for themselves and, as such, no response is
                               7   required. To the extent Paragraph 277 states legal conclusions, no response is
                               8   required. UnitedHealth denies the remaining allegations in Paragraph 277.
                               9          278. To the extent Paragraph 278 purports to describe a document or
                          10       documents, such documents speak for themselves and, as such, no response is
                          11       required. UnitedHealth denies the remaining allegations in Paragraph 278.
                          12              279. To the extent Paragraph 279 purports to describe a document or
                          13       documents, such documents speak for themselves and, as such, no response is
                          14       required. UnitedHealth denies the remaining allegations in Paragraph 279.
                          15              F.    Even After Identifying Miscoding By Providers, Defendants
                          16                    Failed To Delete Invalid Codes
                          17              280. To the extent Paragraph 280 purports to describe a document or
                          18       documents, such documents speak for themselves and, as such, no response is
                          19       required. UnitedHealth is without knowledge or information sufficient to form a
                          20       belief as to the truth or falsity of the allegations in Paragraph 280; therefore, such
                          21       allegations are denied. UnitedHealth denies the remaining allegations in Paragraph
                          22       280.
                          23              281. To the extent Paragraph 281 purports to describe a document or
                          24       documents, such documents speak for themselves and, as such, no response is
                          25       required. To the extent Paragraph 281 states legal conclusions, no response is
                          26       required. UnitedHealth denies the remaining allegations in Paragraph 281.
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                               1          G.    UnitedHealthcare Medicare & Retirement Discontinued 100
                               2                Percent Reviews And Converted The RACCR Program Into A
                               3                Revenue Generating Program
                               4          282. UnitedHealth admits that during the first half of 2014,
                               5   UnitedHealthcare Medicare & Retirement made changes to the RACCR Program.
                               6   To the extent Paragraph 282 states legal conclusions, no response is required.
                               7   UnitedHealth denies the remaining allegations in Paragraph 282.
                               8          283. UnitedHealth admits that beginning with DOS 2012,
                               9   UnitedHealthcare Medicare & Retirement refocused RACCR such that it did not
                          10       require providers to conduct lookback reviews. UnitedHealth denies the remaining
                          11       allegations in Paragraph 283.
                          12              284. To the extent Paragraph 284 purports to describe a document or
                          13       documents, such documents speak for themselves and, as such, no response is
                          14       required. UnitedHealth denies the remaining allegations in Paragraph 284.
                          15              285. UnitedHealth admits that beginning with DOS 2013 RACCR reviews,
                          16       UnitedHealthcare Medicare & Retirement used a different methodology to select
                          17       medical records. UnitedHealth denies the remaining allegations in Paragraph 285.
                          18              286. To the extent Paragraph 286 purports to describe a document or
                          19       documents, such documents speak for themselves and, as such, no response is
                          20       required. UnitedHealth denies the remaining allegations in Paragraph 286.
                          21              287. Paragraph 287 states legal conclusions to which no response is
                          22       required. To the extent Paragraph 287 contains any factual allegations, such
                          23       allegations are denied. UnitedHealth denies the remaining allegations in Paragraph
                          24       287.
                          25              288. UnitedHealth admits that during the first half of 2014,
                          26       UnitedHealthcare Medicare & Retirement made changes to the RACCR Program.
                          27       UnitedHealth denies the remaining allegations in Paragraph 288.
                          28
                                                                            66
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                               1         H.    RACCR-Related Falsehoods In UnitedHealthcare’s And Optum’s
                               2               Attestations
                               3         289. To the extent the allegations in Paragraph 289 relate to claims that
                               4   have been dismissed, they are surplusage and should be stricken.
                               5   UnitedHealthcare admits that it has submitted Risk Adjustment Attestations to the
                               6   Medicare Program. UnitedHealth admits that Optum approved these Attestations
                               7   before they were submitted.
                               8         290. To the extent the allegations in Paragraph 290 relate to claims that
                               9   have been dismissed, they are surplusage and should be stricken. To the extent
                          10       Paragraph 290 purports to describe a document or documents, such documents
                          11       speak for themselves and, as such, no response is required. To the extent
                          12       Paragraph 290 states legal conclusions, no response is required. UnitedHealth
                          13       denies the remaining allegations in Paragraph 290.
                          14             291. To the extent the allegations in Paragraph 291 relate to claims that
                          15       have been dismissed, they are surplusage and should be stricken. To the extent
                          16       Paragraph 291 purports to describe a document or documents, such documents
                          17       speak for themselves and, as such, no response is required. To the extent
                          18       Paragraph 291 states legal conclusions, no response is required. UnitedHealth
                          19       denies the remaining allegations in Paragraph 291.
                          20             292. To the extent the allegations in Paragraph 292 relate to claims that
                          21       have been dismissed, they are surplusage and should be stricken. To the extent
                          22       Paragraph 292 purports to describe a document or documents, such documents
                          23       speak for themselves and, as such, no response is required. To the extent
                          24       Paragraph 292 states legal conclusions, no response is required. UnitedHealth
                          25       denies the remaining allegations in Paragraph 292.
                          26       IV.   Defendants’ False Risk Adjustment Attestations
                          27             293. To the extent the allegations in Paragraph 293 relate to claims that
                          28       have been dismissed, they are surplusage and should be stricken. UnitedHealth
                                                                           67
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                               1   admits that UnitedHealthcare is required to submit a truthful Risk Adjustment
                               2   Attestation to the Medicare Program. UnitedHealthcare admits that it has
                               3   submitted Risk Adjustment Attestations to the Medicare Program. UnitedHealth
                               4   admits that Optum and Ingenix employees reviewed and approved these
                               5   Attestations and that Ovations and UnitedHealthcare employees reviewed and
                               6   signed these Attestations. To the extent Paragraph 293 states legal conclusions, no
                               7   response is required. UnitedHealth denies the remaining allegations in Paragraph
                               8   293.
                               9          294. To the extent the allegations in Paragraph 294 relate to claims that
                          10       have been dismissed, they are surplusage and should be stricken. To the extent
                          11       Paragraph 294 purports to describe a document or documents, such documents
                          12       speak for themselves and, as such, no response is required. UnitedHealth denies
                          13       the remaining allegations in Paragraph 294.
                          14              295. To the extent the allegations in Paragraph 295 relate to claims that
                          15       have been dismissed, they are surplusage and should be stricken. To the extent
                          16       Paragraph 295 states legal conclusions, no response is required. To the extent
                          17       Paragraph 295 purports to describe a document or documents, such documents
                          18       speak for themselves and, as such, no response is required. UnitedHealth denies
                          19       the remaining allegations in Paragraph 295.
                          20              A.    Defendants’ Internal Attestation Approval Process
                          21              296. To the extent the allegations in Paragraph 296 relate to claims that
                          22       have been dismissed, they are surplusage and should be stricken. To the extent
                          23       Paragraph 296 purports to describe a document or documents, such documents
                          24       speak for themselves and, as such, no response is required. UnitedHealth denies
                          25       the remaining allegations in Paragraph 296.
                          26              297. To the extent the allegations in Paragraph 297 relate to claims that
                          27       have been dismissed, they are surplusage and should be stricken. To the extent
                          28       Paragraph 297 purports to describe a document or documents, such documents
                                                                           68
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                               1   speak for themselves and, as such, no response is required. To the extent
                               2   Paragraph 297 purports to summarize and/or describe the provisions of the
                               3   Medicare program, UnitedHealth states that the Medicare statute and regulations
                               4   speak for themselves, and to the extent that the allegations in Paragraph 297 vary
                               5   therefrom or with other applicable statutory or decisional law, UnitedHealth denies
                               6   those allegations. To the extent Paragraph 297 states legal conclusions, no
                               7   response is required.
                               8         298. To the extent the allegations in Paragraph 298 relate to claims that
                               9   have been dismissed, they are surplusage and should be stricken. To the extent
                          10       Paragraph 298 purports to describe a document or documents, such documents
                          11       speak for themselves and, as such, no response is required. UnitedHealth denies
                          12       the remaining allegations in Paragraph 298.
                          13             299. To the extent the allegations in Paragraph 299 relate to claims that
                          14       have been dismissed, they are surplusage and should be stricken. Paragraph 299
                          15       states legal conclusions to which no response is required. To the extent Paragraph
                          16       299 purports to describe a document or documents, such documents speak for
                          17       themselves and, as such, no response is required. UnitedHealth denies the
                          18       remaining allegations in Paragraph 299.
                          19             300. To the extent the allegations in Paragraph 300 relate to claims that
                          20       have been dismissed, they are surplusage and should be stricken. Paragraph 300
                          21       states legal conclusions to which no response is required. To the extent Paragraph
                          22       300 purports to describe a document or documents, such documents speak for
                          23       themselves and, as such, no response is required. UnitedHealth denies the
                          24       remaining allegations in Paragraph 300.
                          25             301. To the extent the allegations in Paragraph 301 relate to claims that
                          26       have been dismissed, they are surplusage and should be stricken. Paragraph 301
                          27       states legal conclusions to which no response is required. To the extent Paragraph
                          28       301 purports to describe a document or documents, such documents speak for
                                                                           69
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                               1   themselves and, as such, no response is required. UnitedHealth denies the
                               2   remaining allegations in Paragraph 301.
                               3         302. To the extent the allegations in Paragraph 302 relate to claims that
                               4   have been dismissed, they are surplusage and should be stricken. Paragraph 302
                               5   states legal conclusions to which no response is required. To the extent Paragraph
                               6   302 purports to describe a document or documents, such documents speak for
                               7   themselves and, as such, no response is required. UnitedHealth denies the
                               8   remaining allegations in Paragraph 302.
                               9         303. To the extent the allegations in Paragraph 303 relate to claims that
                          10       have been dismissed, they are surplusage and should be stricken. Paragraph 303
                          11       states legal conclusions to which no response is required. To the extent Paragraph
                          12       303 purports to describe a document or documents, such documents speak for
                          13       themselves and, as such, no response is required. UnitedHealth denies the
                          14       remaining allegations in Paragraph 303.
                          15             304. To the extent the allegations in Paragraph 304 relate to claims that
                          16       have been dismissed, they are surplusage and should be stricken. Paragraph 304
                          17       states legal conclusions to which no response is required. To the extent Paragraph
                          18       304 purports to describe a document or documents, such documents speak for
                          19       themselves and, as such, no response is required. UnitedHealth denies the
                          20       remaining allegations in Paragraph 304.
                          21             305. To the extent the allegations in Paragraph 305 relate to claims that
                          22       have been dismissed, they are surplusage and should be stricken. Paragraph 305
                          23       states legal conclusions to which no response is required. To the extent Paragraph
                          24       305 purports to describe a document or documents, such documents speak for
                          25       themselves and, as such, no response is required. UnitedHealth denies the
                          26       remaining allegations in Paragraph 305.
                          27             306. To the extent the allegations in Paragraph 306 relate to claims that
                          28       have been dismissed, they are surplusage and should be stricken. To the extent
                                                                           70
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                               1   Paragraph 306 purports to describe a document or documents, such documents
                               2   speak for themselves and, as such, no response is required. UnitedHealth denies
                               3   the remaining allegations in Paragraph 306.
                               4         307. To the extent the allegations in Paragraph 307 relate to claims that
                               5   have been dismissed, they are surplusage and should be stricken. Paragraph 307
                               6   states legal conclusions to which no response is required. To the extent Paragraph
                               7   307 purports to describe a document or documents, such documents speak for
                               8   themselves and, as such, no response is required. UnitedHealth denies the
                               9   remaining allegations in Paragraph 307.
                          10             308. To the extent the allegations in Paragraph 308 relate to claims that
                          11       have been dismissed, they are surplusage and should be stricken. To the extent
                          12       Paragraph 308 purports to describe a document or documents, such documents
                          13       speak for themselves and, as such, no response is required. UnitedHealth denies
                          14       the remaining allegations in Paragraph 308.
                          15             B.    The False Attestations Submitted To The Government
                          16             309. To the extent the allegations in Paragraph 309 relate to claims that
                          17       have been dismissed, they are surplusage and should be stricken. To the extent
                          18       Paragraph 309 purports to describe a document or documents, such documents
                          19       speak for themselves and, as such, no response is required. UnitedHealth denies
                          20       the remaining allegations in Paragraph 309.
                          21             310. To the extent the allegations in Paragraph 310 relate to claims that
                          22       have been dismissed, they are surplusage and should be stricken. Paragraph 310
                          23       states legal conclusions to which no response is required. UnitedHealth denies the
                          24       remaining allegations in Paragraph 310.
                          25             311. To the extent the allegations in Paragraph 311 relate to claims that
                          26       have been dismissed, they are surplusage and should be stricken. To the extent
                          27       Paragraph 311 purports to describe a document or documents, such documents
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                                                                             71
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                               1   speak for themselves and, as such, no response is required. UnitedHealth denies
                               2   the remaining allegations in Paragraph 311.
                               3         312. To the extent the allegations in Paragraph 312 relate to claims that
                               4   have been dismissed, they are surplusage and should be stricken. To the extent
                               5   Paragraph 312 purports to describe a document or documents, such documents
                               6   speak for themselves and, as such, no response is required. UnitedHealth denies
                               7   the remaining allegations in Paragraph 312.
                               8         313. To the extent the allegations in Paragraph 313 relate to claims that
                               9   have been dismissed, they are surplusage and should be stricken. To the extent
                          10       Paragraph 313 purports to describe a document or documents, such documents
                          11       speak for themselves and, as such, no response is required. UnitedHealth denies
                          12       the remaining allegations in Paragraph 313.
                          13             314. To the extent the allegations in Paragraph 314 relate to claims that
                          14       have been dismissed, they are surplusage and should be stricken. To the extent
                          15       Paragraph 314 purports to describe a document or documents, such documents
                          16       speak for themselves and, as such, no response is required. UnitedHealth denies
                          17       the remaining allegations in Paragraph 314.
                          18             315. To the extent the allegations in Paragraph 315 relate to claims that
                          19       have been dismissed, they are surplusage and should be stricken. To the extent
                          20       Paragraph 315 purports to describe a document or documents, such documents
                          21       speak for themselves and, as such, no response is required. UnitedHealth denies
                          22       the remaining allegations in Paragraph 315.
                          23             316. To the extent the allegations in Paragraph 316 relate to claims that
                          24       have been dismissed, they are surplusage and should be stricken. Paragraph 316
                          25       states legal conclusions to which no response is required. UnitedHealth denies the
                          26       remaining allegations in Paragraph 316.
                          27             317. To the extent the allegations in Paragraph 317 relate to claims that
                          28       have been dismissed, they are surplusage and should be stricken. To the extent
                                                                           72
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                               1   Paragraph 317 purports to describe a document or documents, such documents
                               2   speak for themselves and, as such, no response is required. UnitedHealth denies
                               3   the remaining allegations in Paragraph 317.
                               4         318. To the extent the allegations in Paragraph 318 relate to claims that
                               5   have been dismissed, they are surplusage and should be stricken. To the extent
                               6   Paragraph 318 purports to describe a document or documents, such documents
                               7   speak for themselves and, as such, no response is required. UnitedHealth denies
                               8   the remaining allegations in Paragraph 318.
                               9         319. To the extent the allegations in Paragraph 319 relate to claims that
                          10       have been dismissed, they are surplusage and should be stricken. To the extent
                          11       Paragraph 319 purports to describe a document or documents, such documents
                          12       speak for themselves and, as such, no response is required. UnitedHealth denies
                          13       the remaining allegations in Paragraph 319.
                          14             320. To the extent the allegations in Paragraph 320 relate to claims that
                          15       have been dismissed, they are surplusage and should be stricken. Paragraph 320
                          16       states legal conclusions to which no response is required. UnitedHealth denies the
                          17       remaining allegations in Paragraph 320.
                          18             321. To the extent the allegations in Paragraph 321 relate to claims that
                          19       have been dismissed, they are surplusage and should be stricken. To the extent
                          20       Paragraph 321 purports to describe a document or documents, such documents
                          21       speak for themselves and, as such, no response is required. UnitedHealth denies
                          22       the remaining allegations in Paragraph 321.
                          23             322. To the extent the allegations in Paragraph 322 relate to claims that
                          24       have been dismissed, they are surplusage and should be stricken. To the extent
                          25       Paragraph 322 purports to describe a document or documents, such documents
                          26       speak for themselves and, as such, no response is required. To the extent
                          27       Paragraph 322 states legal conclusions, no response is required. UnitedHealth
                          28       denies the remaining allegations in Paragraph 322.
                                                                            73
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                                                                                 UNITEDHEALTH’S ANSWER TO UNITED STATES’
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                               1         323. To the extent the allegations in Paragraph 323 relate to claims that
                               2   have been dismissed, they are surplusage and should be stricken. Paragraph 323
                               3   states legal conclusions to which no response is required. To the extent Paragraph
                               4   323 purports to describe a document or documents, such documents speak for
                               5   themselves and, as such, no response is required. UnitedHealth denies the
                               6   remaining allegations in Paragraph 323.
                               7         324. To the extent the allegations in Paragraph 324 relate to claims that
                               8   have been dismissed, they are surplusage and should be stricken. Paragraph 324
                               9   states legal conclusions to which no response is required. To the extent Paragraph
                          10       324 purports to describe a document or documents, such documents speak for
                          11       themselves and, as such, no response is required. UnitedHealth denies the
                          12       remaining allegations in Paragraph 324.
                          13             325. To the extent the allegations in Paragraph 325 relate to claims that
                          14       have been dismissed, they are surplusage and should be stricken. To the extent
                          15       Paragraph 325 purports to describe a document or documents, such documents
                          16       speak for themselves and, as such, no response is required. To the extent
                          17       Paragraph 325 states legal conclusions, no response is required. UnitedHealth
                          18       denies the remaining allegations in Paragraph 325.
                          19             326. To the extent the allegations in Paragraph 326 relate to claims that
                          20       have been dismissed, they are surplusage and should be stricken. Paragraph 326
                          21       states legal conclusions to which no response is required. UnitedHealth denies the
                          22       remaining allegations in Paragraph 326.
                          23             327. To the extent the allegations in Paragraph 327 relate to claims that
                          24       have been dismissed, they are surplusage and should be stricken. To the extent
                          25       Paragraph 327 purports to describe a document or documents, such documents
                          26       speak for themselves and, as such, no response is required. To the extent
                          27       Paragraph 327 states legal conclusions, no response is required. UnitedHealth
                          28       denies the remaining allegations in Paragraph 327.
                                                                            74
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                               1   V.    Diagnoses Solely Determine Risk Adjustment Payments Based On
                               2         Health Status
                               3         328. Paragraph 328 contains no allegations with respect to a particular
                               4   Defendant or claim and, as such, no response is required. To the extent Paragraph
                               5   328 purports to summarize and/or describe the provisions of the Medicare
                               6   program, UnitedHealth states that the Medicare statute and regulations speak for
                               7   themselves, and to the extent that the allegations in Paragraph 328 vary therefrom
                               8   or with other applicable statutory or decisional law, UnitedHealth denies those
                               9   allegations.
                          10             329. Paragraph 329 contains no allegations with respect to a particular
                          11       Defendant or claim and, as such, no response is required. To the extent Paragraph
                          12       329 states legal conclusions, no response is required. To the extent Paragraph 329
                          13       purports to summarize and/or describe the provisions of the Medicare program,
                          14       UnitedHealth states that the Medicare statute and regulations speak for themselves,
                          15       and to the extent that the allegations in Paragraph 329 vary therefrom or with other
                          16       applicable statutory or decisional law, UnitedHealth denies those allegations.
                          17             330. To the extent the allegations in Paragraph 330 relate to claims that
                          18       have been dismissed, they are surplusage and should be stricken. Paragraph 330
                          19       contains no allegations with respect to a particular Defendant or claim and, as such,
                          20       no response is required. To the extent Paragraph 330 states legal conclusions, no
                          21       response is required. To the extent Paragraph 330 purports to summarize and/or
                          22       describe the provisions of the Medicare program, UnitedHealth states that the
                          23       Medicare statute and regulations speak for themselves, and to the extent that the
                          24       allegations in Paragraph 330 vary therefrom or with other applicable statutory or
                          25       decisional law, UnitedHealth denies those allegations.
                          26             331. UnitedHealth admits that UnitedHealthcare Medicare & Retirement
                          27       submitted delete transactions to RAPS as a result of its RACCR and CV Programs.
                          28       To the extent Paragraph 331 purports to describe a document or documents, such
                                                                           75
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                               1   documents speak for themselves and, as such, no response is required. To the
                               2   extent Paragraph 331 states legal conclusions, no response is required.
                               3   UnitedHealth denies the remaining allegations in Paragraph 331.
                               4          332. To the extent Paragraph 332 purports to describe a document or
                               5   documents, such documents speak for themselves and, as such, no response is
                               6   required. Paragraph 332 states legal conclusions to which no response is required.
                               7   UnitedHealth denies the remaining allegations in Paragraph 332.
                               8          333. UnitedHealth is without knowledge or information sufficient to form a
                               9   belief as to the truth or falsity of the allegations in Paragraph 333; therefore, such
                          10       allegations are denied. To the extent Paragraph 333 states legal conclusions, no
                          11       response is required. UnitedHealth denies the remaining allegations in Paragraph
                          12       333.
                          13              334. Paragraph 334 contains no allegations with respect to a particular
                          14       Defendant or claim and, as such, no response is required. To the extent Paragraph
                          15       334 states legal conclusions, no response is required. To the extent Paragraph 334
                          16       purports to summarize and/or describe the provisions of the Medicare program,
                          17       UnitedHealth states that the Medicare statute and regulations speak for themselves,
                          18       and to the extent that the allegations in Paragraph 334 vary therefrom or with other
                          19       applicable statutory or decisional law, UnitedHealth denies those allegations.
                          20              335. To the extent the allegations in Paragraph 335 relate to claims that
                          21       have been dismissed, they are surplusage and should be stricken. Paragraph 335
                          22       states legal conclusions to which no response is required. To the extent Paragraph
                          23       335 purports to summarize and/or describe the provisions of the Medicare
                          24       program, UnitedHealth states that the Medicare statute and regulations speak for
                          25       themselves, and to the extent that the allegations in Paragraph 335 vary therefrom
                          26       or with other applicable statutory or decisional law, UnitedHealth denies those
                          27       allegations. UnitedHealth denies the remaining allegations in Paragraph 335.
                          28
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                               1         336. To the extent the allegations in Paragraph 336 relate to claims that
                               2   have been dismissed, they are surplusage and should be stricken. Paragraph 336
                               3   states legal conclusions to which no response is required. To the extent Paragraph
                               4   336 purports to summarize and/or describe the provisions of the Medicare
                               5   program, UnitedHealth states that the Medicare statute and regulations speak for
                               6   themselves, and to the extent that the allegations in Paragraph 336 vary therefrom
                               7   or with other applicable statutory or decisional law, UnitedHealth denies those
                               8   allegations. UnitedHealth denies the remaining allegations in Paragraph 336.
                               9         337. To the extent the allegations in Paragraph 337 relate to claims that
                          10       have been dismissed, they are surplusage and should be stricken. To the extent
                          11       Paragraph 337 purports to describe a document or documents, such documents
                          12       speak for themselves and, as such, no response is required. To the extent
                          13       Paragraph 337 purports to summarize and/or describe the provisions of the
                          14       Medicare program, UnitedHealth states that the Medicare statute and regulations
                          15       speak for themselves, and to the extent that the allegations in Paragraph 337 vary
                          16       therefrom or with other applicable statutory or decisional law, UnitedHealth denies
                          17       those allegations.
                          18             338. To the extent the allegations in Paragraph 338 relate to claims that
                          19       have been dismissed, they are surplusage and should be stricken. To the extent
                          20       Paragraph 338 states legal conclusions, no response is required. To the extent
                          21       Paragraph 338 purports to describe a document or documents, such documents
                          22       speak for themselves and, as such, no response is required. UnitedHealth denies
                          23       the remaining allegations in Paragraph 338.
                          24             339. To the extent the allegations in Paragraph 339 relate to claims that
                          25       have been dismissed, they are surplusage and should be stricken. To the extent
                          26       Paragraph 339 states legal conclusions, no response is required. To the extent
                          27       Paragraph 339 purports to describe a document or documents, such documents
                          28
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                                                                                 UNITEDHEALTH’S ANSWER TO UNITED STATES’
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                               1   speak for themselves and, as such, no response is required. UnitedHealth denies
                               2   the remaining allegations in Paragraph 339.
                               3         340. To the extent the allegations in Paragraph 340 relate to claims that
                               4   have been dismissed, they are surplusage and should be stricken. To the extent
                               5   Paragraph 340 states legal conclusions, no response is required. To the extent
                               6   Paragraph 340 purports to describe a document or documents, such documents
                               7   speak for themselves and, as such, no response is required. UnitedHealth denies
                               8   the remaining allegations in Paragraph 340.
                               9                               FIRST CLAIM FOR RELIEF
                          10                               False Claims Act: Reverse False Claims
                          11                   31 U.S.C. § 3729(a)(1)(G) (formerly 31 U.S.C. § 3729(a)(7))
                          12             341. UnitedHealth incorporates its responses to each and every allegation
                          13       set forth above as if fully stated herein.
                          14             342. Paragraph 342 states legal conclusions to which no response is
                          15       required.   To the extent Paragraph 342 contains any factual allegations, such
                          16       allegations are denied.
                          17             343. Paragraph 343 states legal conclusions to which no response is
                          18       required. To the extent Paragraph 343 contains any factual allegations, such
                          19       allegations are denied.
                          20                                  SECOND CLAIM FOR RELIEF
                          21                False Claims Act: Presentation of False or Fraudulent Claims
                          22                   31 U.S.C. § 3729(a)(1)(A) (formerly 31 U.S.C. § 3729(a)(1))
                          23             344. The Second Claim for Relief has been dismissed, and therefore no
                          24       response is required.
                          25             345. The Second Claim for Relief has been dismissed, and therefore no
                          26       response is required.
                          27             346. The Second Claim for Relief has been dismissed, and therefore no
                          28       response is required.
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                               1         347. The Second Claim for Relief has been dismissed, and therefore no
                               2   response is required.
                               3                               THIRD CLAIM FOR RELIEF
                               4           False Claims Act: Making or Using False Records or Statements
                               5              31 U.S.C. § 3729(a)(1)(B) (formerly 31 U.S.C. § 3729(a)(2))
                               6         348. The Third Claim for Relief has been dismissed, and therefore no
                               7   response is required.
                               8         349. The Third Claim for Relief has been dismissed, and therefore no
                               9   response is required.
                          10             350. The Third Claim for Relief has been dismissed, and therefore no
                          11       response is required.
                          12             351. The Third Claim for Relief has been dismissed, and therefore no
                          13       response is required.
                          14                                 FOURTH CLAIM FOR RELIEF
                          15                               False Claims Act: Reverse False Claims
                          16                  31 U.S.C. § 3729(a)(1)(G) (formerly 31 U.S.C. § 3729(a)(7))
                          17             352. The Fourth Claim for Relief has been dismissed, and therefore no
                          18       response is required.
                          19             353. The Fourth Claim for Relief has been dismissed, and therefore no
                          20       response is required.
                          21             354. The Fourth Claim for Relief has been dismissed, and therefore no
                          22       response is required.
                          23             355. The Fourth Claim for Relief has been dismissed, and therefore no
                          24       response is required.
                          25                                   FIFTH CLAIM FOR RELIEF
                          26                                        Unjust Enrichment
                          27             356. UnitedHealth incorporates its responses to each and every allegation
                          28       set forth above as if fully stated herein.
                                                                                79
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                               1         357. Paragraph 357 states legal conclusions to which no response is
                               2   required. To the extent Paragraph 357 contains any factual allegations, such
                               3   allegations are denied.
                               4         358. Paragraph 358 states legal conclusions to which no response is
                               5   required. To the extent Paragraph 358 contains any factual allegations, such
                               6   allegations are denied.
                               7                              SIXTH CLAIM FOR RELIEF
                               8                                    Payment by Mistake
                               9         359. UnitedHealth incorporates its responses to each and every allegation
                          10       set forth above as if fully stated herein.
                          11             360. Paragraph 360 states legal conclusions to which no response is
                          12       required. To the extent Paragraph 360 contains any factual allegations, such
                          13       allegations are denied.
                          14             361. Paragraph 361 states legal conclusions to which no response is
                          15       required. To the extent Paragraph 361 contains any factual allegations, such
                          16       allegations are denied.
                          17                                              PRAYER
                          18             WHEREFORE, the United States requests that judgment be entered in its
                          19       favor and against Defendants as follows:
                          20             362. Paragraph 362 contains a prayer for relief to which no response is
                          21       required. To the extent a response is required, UnitedHealth denies any remaining
                          22       allegations in the Amended Complaint and denies that the United States is entitled
                          23       to any relief whatsoever against UnitedHealth.
                          24             363. Paragraph 363 contains a prayer for relief to which no response is
                          25       required. To the extent a response is required, UnitedHealth denies any remaining
                          26       allegations in the Amended Complaint and denies that the United States is entitled
                          27       to any relief whatsoever against UnitedHealth.
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                                                                                80
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                               1         364. Paragraph 364 contains a prayer for relief to which no response is
                               2   required. To the extent a response is required, UnitedHealth denies any remaining
                               3   allegations in the Amended Complaint and denies that the United States is entitled
                               4   to any relief whatsoever against UnitedHealth.
                               5                                   GENERAL DENIAL
                               6         UnitedHealth denies each and every allegation in the United States’
                               7   Complaint-In-Partial-Intervention that has not been admitted or responded to
                               8   specifically. To the extent any allegations of fact remain unanswered, they are
                               9   denied by UnitedHealth. UnitedHealth further denies that the United States
                          10       entitled to any of the relief sought in the Prayer for Relief, or any relief
                          11       whatsoever.
                          12                                  AFFIRMATIVE DEFENSES
                          13             UnitedHealth pleads the following affirmative defenses and reserves the
                          14       right to assert additional affirmative defenses to the extent that such defenses
                          15       become known as a result of discovery or otherwise:
                          16             1.      The United States’ claims are barred, in whole or in part, by the
                          17       statute of limitations.
                          18             2.      The United States’ claims are barred, in whole or in part, by the
                          19       doctrine of estoppel.
                          20             3.      The United States knew and approved of the particulars of
                          21       UnitedHealth’s claims for payment before such claims were presented but after
                          22       UnitedHealth had alerted the United States to UnitedHealth’s understanding of
                          23       applicable Medicare Program requirements.
                          24             4.      The conduct of the United States negates the materiality of any
                          25       alleged misrepresentations by Defendants and thus, the United States and Relators
                          26       cannot recover under the Amended Complaint against Defendants.
                          27             5.      UnitedHealth is not vicariously liable for the acts alleged in the
                          28       Complaint.
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                               1         6.     UnitedHealth is not liable to the extent that the United States failed to
                               2   take adequate measures to mitigate damages.
                               3         7.     The United States ratified, or otherwise consented to, the transactions
                               4   and occurrences that are the subject of this action.
                               5         8.     The United States’ claims are barred, in whole or in part, by the
                               6   doctrines of course of performance, course of dealing, and usage of trade.
                               7   UnitedHealth’s submissions to the United States during contract negotiations and
                               8   modifications and its compliance efforts were consistent with its course of
                               9   performance, its course of dealing, and usage of trade.
                          10             9.     The United States’ claims are barred, in whole or in part, by the
                          11       existence of an express contract.
                          12             10.    The United States’ claims are barred, in whole or in part, because of
                          13       its assumption of risk.
                          14             11.    The United States’ claims are barred, in whole or in part, because any
                          15       recovery would result in unjust enrichment.
                          16             12.    Every equitable claim is barred by the doctrine of unclean hands.
                          17             13.    The United States’ claims are barred because UnitedHealth made no
                          18       express or implied false certification.
                          19             14.    The United States at all times relevant to the Amended Complaint
                          20       knew of the conduct allegedly engaged in by UnitedHealth and thus, the United
                          21       States and Relators cannot recover under the Amended Complaint.
                          22             15.    The services and products reimbursed by the United States under
                          23       Medicare were worth what the government paid.
                          24             16.    The United States’ claims based on alleged conduct by UnitedHealth
                          25       are barred, in whole or in part, by the fact that the United States has suffered no
                          26       actual injury. The United States’ claims based on alleged conduct by UnitedHealth
                          27       are barred, in whole or in part, because of the prior public disclosures of the core
                          28       allegations upon which the Amended Complaint’s “false claims” allegations
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                               1   purport to be based and/or because Relators are not an “original source” of the
                               2   information, as defined in the statutes therein, such that they are not entitled to
                               3   pursue this action or be awarded any recovery, nor the does the Court have
                               4   jurisdiction.
                               5         17.       The United States’ causes of action and allegations in the Complaint
                               6   are vague, ambiguous and uncertain.
                               7         18.       The United States’ claims against one or more Defendants are
                               8   misjoined with the United States’ claims against other Defendants and must be
                               9   severed.
                          10             19.       Damages and claims for which the United States seeks relief in the
                          11       Complaint, if any, were caused by the acts, errors or omissions or other fault of
                          12       third parties and/or contributed to and/or other fault of third parties, for whose
                          13       conduct UnitedHealth was not responsible.
                          14             20.       The United States’ alleged damages are speculative, uncertain, or
                          15       contingent and are not recoverable.
                          16             21.       To the extent any damages are awarded against UnitedHealth, they
                          17       must be reduced pursuant to 31 U.S.C. § 3729(a)(2).
                          18             22.       UnitedHealth reserves the right to add additional defenses as
                          19       discovery progresses.
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                               1                                  COUNTERCLAIM
                               2         Defendants AmeriChoice of New Jersey, Inc., AmeriChoice of New York,
                               3   Inc., Arizona Physicians IPA, Inc., Care Improvement Plus of Maryland, Inc., Care
                               4   Improvement Plus of Texas Insurance Company, Care Improvement Plus South
                               5   Central Insurance Company, Care Improvement Plus Wisconsin Insurance
                               6   Company, Optum Insurance Co., Citrus Health Care, Inc., Health Plan of Nevada,
                               7   Inc., Medica HealthCare Plans, Inc., Oxford Health Plans (CT), Inc., Oxford
                               8   Health Plans (NJ), Inc., Oxford Health Plans (NY), Inc., PacifiCare Life and
                               9   Health Insurance Company, PacifiCare of Arizona, Inc., PacifiCare of Colorado,
                          10       Inc., PacifiCare of Nevada, Inc., Physicians Health Choice of Texas, LLC,
                          11       Preferred Care Partners, Inc., Rocky Mountain Health Maintenance Organization,
                          12       Incorporated, Sierra Health and Life Insurance Company, Inc., Symphonix Health
                          13       Insurance, Inc., United HealthCare of California, Inc., UHC of California (f.k.a.
                          14       PacifiCare of California), United Health Care Ins. Co. and United New York,
                          15       Unison Health Plan of Tennessee, Inc., UnitedHealthcare Benefits of Texas, Inc.
                          16       (f.k.a. PacifiCare of Texas, Inc.), UnitedHealthcare Community Plan of Ohio, Inc.
                          17       (f.k.a. Unison Health Plan of Ohio, Inc.), UnitedHealthcare Community Plan of
                          18       Texas, L.L.C. (f.k.a. Evercare of Texas, L.L.C.), UnitedHealthcare Community
                          19       Plan, Inc. (f.k.a. UnitedHealthcare of the Great Lakes Health Plan, Inc.),
                          20       UnitedHealthcare Insurance Company, UnitedHealthcare Insurance Company of
                          21       New York, UnitedHealthcare of Alabama, Inc., UnitedHealthcare of Arizona, Inc.,
                          22       UnitedHealthcare of Arkansas, Inc., UnitedHealthcare of Florida, Inc.,
                          23       UnitedHealthcare of Georgia, Inc., UnitedHealthcare of New England, Inc.,
                          24       UnitedHealthcare of New York, Inc., UnitedHealthcare of North Carolina, Inc.,
                          25       UnitedHealthcare of Ohio, Inc., UnitedHealthcare of Oklahoma, Inc. (f.k.a.
                          26       PacifiCare of Oklahoma, Inc.), UnitedHealthcare of Oregon, Inc. (f.k.a. PacifiCare
                          27       of Oregon, Inc.), UnitedHealthcare of Pennsylvania, Inc. (f.k.a. Unison Health Plan
                          28       of Pennsylvania, Inc.), UnitedHealthcare of Tennessee, Inc., UnitedHealthcare of
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                               1   the Midlands, Inc., UnitedHealthcare of the Midwest, Inc., UnitedHealthcare of
                               2   Utah, Inc., UnitedHealthcare of Washington, Inc. (f.k.a. PacifiCare of Washington,
                               3   Inc.), UnitedHealthcare of Wisconsin, Inc., and UnitedHealthcare Plan of the River
                               4   Valley, Inc. (collectively, “UnitedHealth MA Plans”)2 state, allege, and request the
                               5   following in the character of a counterclaim against Plaintiff the United States of
                               6   America (“United States” or “Government”):
                               7         1.     The responses and affirmative defenses contained in the Answer to the
                               8   United States’ Amended Complaint-in-Partial-Intervention described above are
                               9   incorporated by reference in this Counterclaim as if fully set forth herein.
                          10                                JURISDICTION AND VENUE
                          11             2.     This Court has subject matter jurisdiction over these Counterclaims
                          12       pursuant to 28 U.S.C. §§ 1331 and 1367, as well as Federal Rule of Civil
                          13       Procedure 13. To the extent jurisdiction and venue are proper under the
                          14       Complaint, jurisdiction and venue are also proper under the Counterclaims, which
                          15       arise out of the same transactions and occurrences alleged in the Complaint.
                          16                                            PARTIES
                          17             3.     Plaintiff and Counter-Defendant United States of America has sued
                          18       UnitedHealth on behalf of the United States Department of Health and Human
                          19       Services (“HHS”).
                          20             4.     The following Defendant and Counter-Plaintiff Medicare Advantage
                          21       (“MA”) Organizations entered into one or more agreements with the Government
                          22       during the relevant time period to offer MA Plans and/or Medicare Part D Plans to
                          23       Medicare beneficiaries under Parts C and D of the Medicare Program, presented
                          24       claims to the Government for risk adjustment payments under Parts C and D of the
                          25       Medicare Program, and received risk adjustment payments from the Government.
                          26

                          27       2
                               Should the Government substitute additional MA Plans as parties in this action in
                             the place of erroneously named entities in its Amended Complaint, such additional
                          28 MA Plans would constitute Counter-Plaintiffs as well.
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                                                                                 UNITEDHEALTH’S ANSWER TO UNITED STATES’
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                               1      a.    Defendant and Counter-Plaintiff AmeriChoice of New Jersey, Inc., a
                               2   New Jersey corporation.
                               3      b.    Defendant and Counter-Plaintiff AmeriChoice of New York, Inc., a
                               4   New York corporation.
                               5      c.    Defendant and Counter-Plaintiff Arizona Physicians IPA, Inc., an
                               6   Arizona corporation.
                               7      d.    Defendant and Counter-Plaintiff Care Improvement Plus of Maryland,
                               8   Inc., a Maryland corporation.
                               9      e.    Defendant and Counter-Plaintiff Care Improvement Plus of Texas
                          10       Insurance Company, a Texas corporation insurance company.
                          11          f.    Defendant and Counter-Plaintiff Care Improvement Plus South
                          12       Central Insurance Company, an Arkansas corporation insurance company.
                          13          g.    Defendant and Counter-Plaintiff Care Improvement Plus Wisconsin
                          14       Insurance Company, a Wisconsin corporation insurance company.
                          15          h.    Defendant and Counter-Plaintiff Citrus Health Care, Inc., a Florida
                          16       corporation.
                          17          i.    Defendant and Counter-Plaintiff Health Plan of Nevada, Inc., a
                          18       Nevada corporation.
                          19          j.    Defendant and Counter-Plaintiff Medica HealthCare Plans, Inc., a
                          20       Florida corporation.
                          21          k.    Defendant and Counter-Plaintiff Oxford Health Plans (CT), Inc., a
                          22       Connecticut corporation.
                          23          l.    Defendant and Counter-Plaintiff Oxford Health Plans (NJ), Inc., a
                          24       New Jersey corporation.
                          25          m.    Defendant and Counter-Plaintiff Oxford Health Plans (NY), Inc., a
                          26       New York corporation.
                          27          n.    Defendant and Counter-Plaintiff PacifiCare Life and Health Insurance
                          28       Company, an Indiana corporation insurance company.
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                               1      o.     Defendant and Counter-Plaintiff PacifiCare of Arizona, Inc., an
                               2   Arizona corporation.
                               3      p.     Defendant and Counter-Plaintiff PacifiCare of Colorado, Inc., a
                               4   Colorado corporation.
                               5      q.     Defendant and Counter-Plaintiff PacifiCare of Nevada, Inc., a Nevada
                               6   corporation.
                               7      r.     Defendant and Counter-Plaintiff Physicians Health Choice of Texas,
                               8   LLC, a Texas limited liability company.
                               9      s.     Defendant and Counter-Plaintiff Preferred Care Partners, Inc., a
                          10       Florida corporation.
                          11          t.     Defendant and Counter-Plaintiff Sierra Health and Life Insurance
                          12       Company, Inc., a Nevada corporation.
                          13          u.     Defendant and Counter-Plaintiff Symphonix Health Insurance, Inc.,
                          14       an Illinois corporation insurance company.
                          15          v.     Defendant and Counter-Plaintiff United HealthCare of California,
                          16       Inc., a California corporation.
                          17          w.     Defendant and Counter-Plaintiff UHC of California, a California
                          18       corporation.
                          19          x.     Defendant and Counter-Plaintiff Unison Health Plan of Tennessee,
                          20       Inc., a Tennessee corporation.
                          21          y.     Defendant and Counter-Plaintiff UnitedHealthcare Benefits of Texas,
                          22       Inc., a Texas corporation.
                          23          z.     Defendant and Counter-Plaintiff UnitedHealthcare Community Plan
                          24       of Ohio, Inc., an Ohio corporation.
                          25          aa.    Defendant and Counter-Plaintiff UnitedHealthcare Community Plan
                          26       of Texas, L.L.C., a Texas limited liability company.
                          27          bb.    Defendant and Counter-Plaintiff UnitedHealthcare Community Plan,
                          28       Inc., a Michigan corporation.
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                               1      cc.   Defendant and Counter-Plaintiff UnitedHealthcare Insurance
                               2   Company, a Connecticut corporation insurance company.
                               3      dd.   Defendant and Counter-Plaintiff UnitedHealthcare Insurance
                               4   Company of New York, a New York corporation insurance company.
                               5      ee.   Defendant and Counter-Plaintiff UnitedHealthcare of Alabama, Inc.,
                               6   an Alabama corporation.
                               7      ff.   Defendant and Counter-Plaintiff UnitedHealthcare of Arizona, Inc., an
                               8   Arizona corporation.
                               9      gg.   Defendant and Counter-Plaintiff UnitedHealthcare of Arkansas, Inc.,
                          10       an Arkansas corporation.
                          11          hh.   Defendant and Counter-Plaintiff UnitedHealthcare of Florida, Inc., a
                          12       Florida corporation.
                          13          ii.   Defendant and Counter-Plaintiff UnitedHealthcare of Georgia, Inc., a
                          14       Georgia corporation.
                          15          jj.   Defendant and Counter-Plaintiff UnitedHealthcare of New England,
                          16       Inc., a Rhode Island corporation.
                          17          kk.   Defendant and Counter-Plaintiff UnitedHealthcare of New York, Inc.,
                          18       a New York corporation.
                          19          ll.   Defendant and Counter-Plaintiff UnitedHealthcare of North Carolina,
                          20       Inc., a North Carolina corporation.
                          21          mm. Defendant and Counter-Plaintiff UnitedHealthcare of Ohio, Inc., an
                          22       Ohio corporation.
                          23          nn.   Defendant and Counter-Plaintiff UnitedHealthcare of Oklahoma, Inc.,
                          24       an Oklahoma corporation.
                          25          oo.   Defendant and Counter-Plaintiff UnitedHealthcare of Oregon, Inc., an
                          26       Oregon corporation.
                          27          pp.   Defendant and Counter-Plaintiff UnitedHealthcare of Pennsylvania,
                          28       Inc., a Pennsylvania corporation.
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                               1           qq.    Defendant and Counter-Plaintiff UnitedHealthcare of Tennessee, Inc.,
                               2        a Tennessee corporation.
                               3           rr.    Defendant and Counter-Plaintiff UnitedHealthcare of the Midlands,
                               4        Inc., a Nebraska corporation.
                               5           ss.    Defendant and Counter-Plaintiff UnitedHealthcare of the Midwest,
                               6        Inc., a Missouri corporation.
                               7           tt.    Defendant and Counter-Plaintiff UnitedHealthcare of Utah, Inc., a
                               8        Utah corporation.
                               9           uu.    Defendant and Counter-Plaintiff UnitedHealthcare of Washington,
                          10            Inc., a Washington corporation.
                          11               vv.    Defendant and Counter-Plaintiff UnitedHealthcare of Wisconsin, Inc.,
                          12            a Wisconsin corporation.
                          13               ww. Defendant and Counter-Plaintiff UnitedHealthcare Plan of the River
                          14            Valley, Inc., an Illinois corporation.
                          15                                    FACTUAL ALLEGATIONS
                          16       I.     Medicare Advantage Contracts
                          17               A.     Medicare Advantage and CMS’s “Risk Adjustment” Model
                          18               5.     The Medicare Act establishes a federal health insurance program for
                          19       disabled and elderly individuals. Traditional Medicare beneficiaries are often
                          20       referred to as fee-for-service (“FFS”) beneficiaries because they receive healthcare
                          21       from a network of healthcare providers, including doctors and hospitals, whom the
                          22       federal government—through the Centers for Medicare and Medicaid Services
                          23       (“CMS”)—reimburses based on the claims those providers submit for the services
                          24       they provide.
                          25               6.     Congress created the Medicare Advantage program to allow
                          26       individuals eligible for traditional Medicare instead to receive healthcare benefits
                          27       through private insurance plans like the UnitedHealth MA Plans.
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                               1         7.     As with other types of health insurance, it costs more on average to

                               2   insure individuals who are projected to be sicker during the coverage period than it
                               3   does to insure individuals who are projected to be healthier during that same
                               4   period. Therefore, CMS adjusts the amount it pays to Medicare Advantage
                               5   organizations to reflect the projected health status of the MA plan’s enrollees.
                               6         8.     CMS designed and implemented a “risk adjustment” model to
                               7   determine how much to pay an MA plan in a given year. The model is designed to
                               8   predict how much it will cost an MA plan to care for the group of senior citizens
                               9   who are enrolled in that MA plan, based on an analysis of CMS’s costs to care for
                          10       people with the same health conditions in traditional Medicare. The model relies
                          11       on medical diagnosis codes, which are numerical codes that correspond to illnesses
                          12       or medical conditions diagnosed by medical professionals. CMS uses the
                          13       diagnosis codes it receives from the physicians and other medical professionals
                          14       who treat traditional Medicare beneficiaries on a FFS basis to determine how much
                          15       it costs CMS to provide care for beneficiaries with a particular medical condition.
                          16       CMS then uses that data to predict how much it will cost an MA plan to insure an
                          17       individual with the same diagnosis code. CMS assumes that MA plans will see a
                          18       similar relationship between diagnosis codes and medical costs for the patients
                          19       enrolled in MA plans, and so it uses the analysis of its own FFS program codes and
                          20       costs to adjust MA plans’ payment amounts as well.
                          21             9.     CMS has long known that a substantial number of the diagnosis codes
                          22       in its own FFS claims data reflect conditions that are not sufficiently documented
                          23       in patients’ corresponding medical charts. CMS thus has known that if it tried to
                          24       verify each reported diagnosis code by looking at the underlying medical records,
                          25       it would not always find specific entries in the medical charts that reflect the
                          26       specific diagnosis reported to CMS. It has recognized, however, that attempting to
                          27       verify all the diagnosis codes would be operationally difficult and, indeed, so
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                               1   expensive as to be cost prohibitive. Instead, CMS includes supported and
                               2   unsupported diagnosis codes alike in its calculations.
                               3         10.    Using both supported and unsupported diagnosis codes to determine
                               4   the average costs associated with medical conditions, rather than using just
                               5   supported diagnosis codes, has the effect of lowering the average costs associated
                               6   with the conditions. That reflects, among other things, the fact that patients who
                               7   do not have a given condition (and whose diagnosis codes for that condition would
                               8   therefore be unsupported) generally do not require the same level of healthcare
                               9   services as patients who actually suffer from it. And because CMS does not
                          10       distinguish between its supported and unsupported codes, the lower costs that CMS
                          11       incurs for a FFS patient without a given condition (and whose diagnosis code for
                          12       that condition is therefore unsupported) results on average in a lower payment to
                          13       an MA plan for a patient who does have that condition (and a supported diagnosis
                          14       code to go with it). This means that the payments CMS makes to MA plans are
                          15       lower than they would be if CMS used only supported diagnosis codes in
                          16       calculating its own average costs for a given condition.
                          17             11.    Accordingly, by using unverified FFS codes to determine payment
                          18       amounts, CMS already has reduced its per-code payment in a way that accounts
                          19       for the presence of unsupported diagnosis codes in claims data. If CMS also
                          20       required MA plans to delete all codes that are not supported in provider-submitted
                          21       codes, such that they received payments only for supported codes even as CMS
                          22       continued calculating payment amounts using both its supported and unsupported
                          23       FFS codes, CMS would receive a windfall and the MA plans would be improperly
                          24       underpaid.
                          25             B.     Medical Chart Reviews
                          26             12.    In the MA program, physicians and other healthcare providers submit
                          27       diagnosis codes to the MA organizations, who in turn submit them to CMS.
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                               1         13.   MA organizations are not required or expected to double-check all
                               2   diagnosis codes they receive from providers in claims submissions. Doing so
                               3   would be logistically difficult, if not impossible, for the same reasons CMS chose
                               4   not to double-check its FFS codes when determining how much to adjust its
                               5   payments for specific diagnosis codes. CMS both expects and accepts that some
                               6   portion of data submitted by MA organizations—like CMS’s own FFS data—
                               7   would not be supported in the medical chart if one were to compare codes
                               8   submitted in claims to underlying medical records.
                               9         14.   MA organizations are permitted to perform their own reviews of
                          10       certain medical charts if they choose to do so—and often do. Specialists in coding
                          11       diagnoses (known as “coders”) review the medical charts and determine what
                          12       codes are supported by the charts. MA organizations then submit those additional
                          13       diagnosis codes to CMS to demonstrate that the particular patients may require
                          14       more care in the successive period.
                          15             15.   CMS never has issued any rules or regulations addressing the scope of
                          16       MA organizations’ reviews of medical charts. For example, there is no rule or
                          17       regulation requiring that MA plans perform a so-called “two-way look,” in which
                          18       their coders would not only affirmatively identify codes that should be submitted
                          19       but also validate the diagnosis codes already submitted by physicians and other
                          20       medical professionals.
                          21             16.   Instead, CMS fully expects that MA organizations’ chart reviews will
                          22       result in a net increase in the number of diagnosis codes that MA plans submit for
                          23       risk adjustment purposes. In fact, because CMS anticipates that MA
                          24       organizations’ chart reviews will lead MA plans to identify more codes than they
                          25       would if they relied just on submissions by doctors and other health professionals
                          26       (as CMS does in the traditional Medicare program), CMS makes an across-the-
                          27       board reduction in its payments to MA plans. In 2018, for example, this
                          28       reduction—known as the “Coding Intensity Adjustment” because it adjusts for MA
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                               1   plans’ tendency to record diagnosis codes with more “intensity” than FFS
                               2   providers—will reduce MA plans’ payments by 5.91 percent. CMS has studied the
                               3   issue and expressly found that the Coding Intensity Adjustment fully accounts for
                               4   the difference in coding practices between the MA and traditional Medicare
                               5   programs.
                               6         C.     Contract and Bid Process
                               7         17.    MA plans enter into annual contracts with CMS in which they agree
                               8   to provide insurance benefits to patients for the coming year in exchange for
                               9   payment from CMS.
                          10             18.    The payment provision of these contracts provides that the MA plans
                          11       will develop an annual benefit and price bid proposal and submit that information
                          12       to CMS.
                          13             19.    An MA plan’s bid must reflect the MA organization’s estimate of the
                          14       payment it will require to provide the benefits covered by Medicare Parts A and B
                          15       to a Medicare enrollee “with a national average risk profile.” This payment
                          16       estimate must include “all estimated revenue required by the plan, including
                          17       administrative costs and return on investment.”
                          18             20.    To make these estimates, an MA plan must be able to calculate
                          19       anticipated revenues and expenses, including the cost of providing care to the
                          20       beneficiaries enrolled in the MA plan. In doing so, MA plans take into account
                          21       CMS’s calculations about the relative amount it will cost to care for patients with
                          22       individual conditions, as well as “actuarial” assumptions, which are projections
                          23       about the number of beneficiaries with particular conditions that will enroll in the
                          24       plan during the year.
                          25             21.    In deciding whether to accept an MA plan’s bid, CMS is required by
                          26       law to determine whether the bid “reasonably and equitably reflects the plan’s
                          27       estimated revenue requirements for providing the benefits under the plan.” If the
                          28       bid does not, CMS cannot accept it.
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                               1         22.    If CMS accepts the bid (after determining that it is reasonable and
                               2   equitable), CMS then agrees to pay the MA organization under the contract in
                               3   accordance with the MA organization’s bid and based on the submitted risk
                               4   adjustment data and other amounts published by CMS.
                               5         D.     CMS Told United and the Industry that MA Plans Are Not
                               6                Required to Perform Chart Reviews that Include Efforts to
                               7                Validate Previously Submitted Diagnosis Codes (Two-Way Looks)
                               8         23.    As noted above, none of the thousands of rules and regulations issued
                               9   by CMS requires MA plans to conduct chart reviews that “look both ways” or
                          10       otherwise make their diagnosis data conform to a higher standard of accuracy than
                          11       CMS itself utilizes with respect to its FFS data.
                          12             24.    In fact, CMS told UnitedHealth that just the opposite is true.
                          13             25.    For example, in 2014 CMS considered and then affirmatively decided
                          14       not to finalize a proposed rule that would have prohibited MA organizations from
                          15       performing reviews that only looked for additional diagnosis codes (known as
                          16       “one-way” reviews).
                          17             26.    In addition, UnitedHealth repeatedly made clear that it was not
                          18       performing two-way reviews and sought specific guidance on the issue from CMS.
                          19       CMS consistently confirmed that two-way reviews were not, and are not, required.
                          20             27.    For example, in 2009, UnitedHealth explained to government auditors
                          21       that its chart review program did not seek to verify diagnosis codes received from
                          22       medical providers through the review of medical records. The government
                          23       auditors never stated or even suggested that UnitedHealth was violating any rule or
                          24       CMS contract by failing to verify the diagnosis codes UnitedHealth had received
                          25       from providers, and the resulting audit did not find that UnitedHealth was out of
                          26       compliance with any rule, regulation or contractual requirement.
                          27             28.    Moreover, starting in 2011, the UnitedHealth MA Plans informed
                          28       CMS each year in their bids that they made no effort to validate the diagnosis
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                               1   codes they used in the bids by reviewing medical records: “As part of the
                               2   preparation of the bids, we did not attempt to validate any actual or projected risk
                               3   scores through a review of applicable medical records. . . .”
                               4         29.    CMS did not advise a single UnitedHealth MA Plan that its failure to
                               5   validate provider-submitted codes was inappropriate or that validation of risk
                               6   scores based on a review of the medical records was required; rather, CMS
                               7   accepted these bids and paid the UnitedHealth MA Plans for the services provided.
                               8         30.    In fact, during conversations between UnitedHealth and CMS over the
                               9   course of the spring and early summer of 2014, CMS confirmed multiple times that
                          10       “two-way” looks were not required.
                          11             31.    Specifically, CMS told UnitedHealth that unless and until a proposed
                          12       rule governing the review of medical records became final, MA plans did not, and
                          13       do not, have an affirmative obligation to confirm whether diagnosis codes
                          14       submitted by physicians are supported in the medical records.
                          15             32.    The UnitedHealth MA Plans memorialized this understanding,
                          16       including in subsequent bids and risk adjustment data attestations they provided to
                          17       CMS under the contracts.
                          18       II.   The UnitedHealth MA Plans Submitted Bids and Performed Contracts
                          19             In Reliance on the Government’s Representations and Conduct
                          20             33.    During the relevant period, the UnitedHealth MA Plans based their
                          21       bids on the understanding that they did not need to perform chart reviews to
                          22       identify unsupported codes from physicians, just as CMS does not look for
                          23       unsupported codes when calculating its average costs in the FFS program.
                          24             34.    The lack of an obligation to perform chart reviews to identify
                          25       unsupported codes was an assumption underlying the UnitedHealth MA Plans’
                          26       bids. The UnitedHealth MA Plans took this lack of an obligation into account in
                          27       estimating the amounts they would need to bid in order to meet their revenue
                          28       requirements. CMS accepted these bids knowing that it had not imposed an
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                               1   obligation to perform such reviews and that the assumptions on which the
                               2   UnitedHealth MA Plans’ bids rested—which CMS was required by law to review
                               3   and, if appropriate, approve—did not include the performance of such two-way
                               4   looks.
                               5   III.     The Department of Justice Files Suit Against UnitedHealth
                               6            35.   Qui tam relator Benjamin Poehling filed this False Claims Act
                               7   (“FCA”) case in 2011. The Department of Justice (“DOJ”) investigated Poehling’s
                               8   allegations for more than 6 years, during which time the case remained under seal.
                               9            36.   DOJ formally intervened in the case and filed a Complaint-In-Partial-
                          10       Intervention on May 16, 2017. DOJ filed an Amended Complaint on November
                          11       17, 2017.
                          12                37.   In its Amended Complaint, DOJ makes assertions directly contrary to
                          13       the guidance and instructions from CMS regarding the UnitedHealth MA Plans’
                          14       obligations to review medical records.
                          15                38.   Despite knowing that CMS considered, and then rejected, a rule that
                          16       would have required MA plans conducting any review of medical records to
                          17       validate diagnosis codes previously submitted by providers, DOJ now claims that
                          18       the UnitedHealth MA Plans “were obligated to ‘look both ways’ at the results of
                          19       their chart reviews and delete unsupported provider-diagnoses.” Moreover, despite
                          20       knowing that CMS told the UnitedHealth MA Plans that they had no obligation to
                          21       look for unsupported diagnosis codes during the course of any chart review, DOJ
                          22       now claims that the UnitedHealth MA Plans had a legal obligation to do so.
                          23                                      CAUSES OF ACTION
                          24                                   Count 1: Breach of Contract
                          25                39.   The UnitedHealth MA Plans repeat and re-allege the allegations
                          26       contained in Paragraphs 1 to 38 above as though they are fully set forth herein.
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                               1           40.   During all time periods relevant for the Government’s Amended
                               2   Complaint, CMS and certain UnitedHealth MA Plans had in place contracts
                               3   relating to the UnitedHealth MA Plans’ participation in Medicare Part C.
                               4           41.   The UnitedHealth MA Plans performed their obligations under their
                               5   contracts.
                               6           42.   As part of the contract formation process, the UnitedHealth MA Plans
                               7   were required to submit bid proposals. CMS approved and accepted those bid
                               8   proposals, and agreed to pay the UnitedHealth MA plans based on their approved
                               9   bids.
                          10               43.   The bids CMS approved and accepted were premised on the
                          11       understanding, and in some instances specified, that the UnitedHealth MA Plans
                          12       were not performing medical chart reviews to identify unsupported codes (i.e.
                          13       “two-way looks”).
                          14               44.   DOJ’s Amended Complaint claims that the UnitedHealth MA Plans
                          15       were required to perform two-way looks, despite the fact that CMS previously
                          16       advised the UnitedHealth MA Plans that two-way looks were unnecessary and not
                          17       required. DOJ now seeks, after the fact, to alter fundamental assumptions built
                          18       into the UnitedHealth MA Plans’ bids and, thus, their contracts with CMS.
                          19               45.   The instant lawsuit improperly seeks to deprive the UnitedHealth MA
                          20       Plans of compensation they earned in exchange for providing insurance coverage
                          21       to millions of MA plan beneficiaries, on the ground that the UnitedHealth MA
                          22       Plans did not perform two-way looks or otherwise validate provider-submitted
                          23       codes. Depriving the UnitedHealth MA Plans of compensation on that ground
                          24       constitutes a breach of the terms of the contracts between the UnitedHealth MA
                          25       Plans and CMS. In addition, DOJ effectively seeks to withhold payment for
                          26       services already provided by the UnitedHealth MA Plans.
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                               1         46.      As a result of such breach, the UnitedHealth MA Plans have suffered
                               2   damages and are entitled to recover for these damages in an amount to be
                               3   determined at trial.
                               4               Count 2: Breach of Covenant of Good Faith and Fair Dealing
                               5          47. The UnitedHealth MA Plans repeat and re-allege the allegations
                               6   contained in Paragraphs 1 to 46 above as though they are fully set forth herein.
                               7          48. During all time periods relevant for the Government’s Amended
                               8   Complaint, CMS and certain of the UnitedHealth MA Plans had in place legally
                               9   enforceable contracts relating to the UnitedHealth MA Plans’ participation in
                          10       Medicare Part C. Every contract imposes a duty of good faith and fair dealing
                          11       upon the parties in performance and enforcement of the contract.
                          12              49. The UnitedHealth MA Plans performed their obligations under their
                          13       contracts.
                          14              50. In suing the UnitedHealth MA Plans for not performing two-way
                          15       looks and other measures to review and delete codes, the Government breached the
                          16       duty of good faith and fair dealing by demanding that the UnitedHealth MA Plans
                          17       perform functions not required by the contracts or else face significant liability.
                          18              51. The Government further breached the covenant of good faith and fair
                          19       dealing by continuing to accept benefits from the UnitedHealth MA Plans based on
                          20       the parties’ contracts, while simultaneously pursuing treble-damages recovery for
                          21       payments it made pursuant to those contracts, in a manner designed to secure the
                          22       benefits of its contracts with the UnitedHealth MA Plans without paying for those
                          23       benefits.
                          24              52. As a result of any such breach of the covenant of good faith and fair
                          25       dealing, the UnitedHealth MA Plans have suffered damages and are entitled to
                          26       recover for these damages in an amount to be determined at trial.
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                               1                           Count 3: Fraudulent Inducement
                               2         53.    The UnitedHealth MA Plans repeat and re-allege the allegations
                               3   contained in Paragraphs 1 to 52 above as though they are fully set forth herein.
                               4         54.    CMS made representations to the UnitedHealth MA Plans regarding
                               5   the terms of the UnitedHealth MA Plans’ contracts, both in the context of express
                               6   contract negotiations and otherwise.
                               7         55.    CMS expressly represented that the UnitedHealth MA Plans were not
                               8   required to conduct two-way looks to verify and delete diagnosis codes.
                               9         56.    CMS’s past assertions on that point were legally correct.
                          10       Nevertheless, DOJ now asserts that two-way looks were required. If DOJ’s
                          11       assertion is accurate—and the UnitedHealth MA Plans were required to conduct
                          12       two-way looks when conducting chart reviews—then CMS’s prior representations
                          13       to the UnitedHealth MA Plans were false and lulled the UnitedHealth MA Plans
                          14       into continuing to enter into contracts with CMS under false pretenses. Indeed,
                          15       while the UnitedHealth MA Plans continue to believe that two-way looks were not,
                          16       and are not, required during the course of chart reviews, if CMS knew, or was
                          17       reckless in not knowing, that the UnitedHealth MA Plans were required to conduct
                          18       two-way looks, then it deliberately deceived the UnitedHealth MA Plans.
                          19             57.    CMS knew, and intended, that the UnitedHealth MA Plans would rely
                          20       on CMS’s representations and omissions regarding two-way looks.
                          21             58.    The UnitedHealth MA Plans justifiably relied on CMS’s
                          22       representations and omissions in preparing their bids and entering into their
                          23       contracts.
                          24             59.    If the Government’s current assertions are correct, and the
                          25       UnitedHealth MA Plans were required to perform two-way looks, then CMS’s
                          26       prior representations and omissions fraudulently induced the UnitedHealth MA
                          27       Plans to enter into their contracts with CMS.
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                               1         60.      As a result of CMS’s fraudulent statements and omissions, the
                               2   UnitedHealth MA Plans have suffered damages and are entitled to recover for
                               3   these damages in an amount to be determined at trial.
                               4                          Count 4: Negligent Misrepresentation
                               5         61.      The UnitedHealth MA Plans repeat and re-allege the allegations
                               6   contained in Paragraphs 1 to 60 above as though they are fully set forth herein.
                               7         62.      CMS expressly represented to the UnitedHealth MA Plans on certain
                               8   occasions that the UnitedHealth MA Plans would not be required under the
                               9   contracts to conduct two-way looks or take other steps to verify and delete codes
                          10       that CMS itself does not take.
                          11             63.      CMS’s past assertions on that point were legally correct.
                          12       Nevertheless, DOJ now asserts that two-way looks were required. The
                          13       UnitedHealth MA Plans therefore assert, in the alternative, that if two-way looks
                          14       were required, then CMS’s prior representations were false and negligent, and the
                          15       UnitedHealth MA Plans were ignorant of the two-way look requirement.
                          16             64.      CMS intended that the UnitedHealth MA Plans would rely on CMS’s
                          17       representations that the UnitedHealth MA Plans would not be required under the
                          18       contracts to conduct two-way looks.
                          19             65.      The UnitedHealth MA Plans justifiably relied on CMS’s
                          20       representations in preparing their bids and entering into their contracts.
                          21             66.      If the Government’s current assertions are correct, and the
                          22       UnitedHealth MA Plans were required to perform two-way looks, then CMS
                          23       negligently misrepresented the UnitedHealth MA Plans’ medical record review
                          24       obligations.
                          25             67.      As a result of CMS’s negligent misrepresentations, the UnitedHealth
                          26       MA Plans have suffered damages and are entitled to recover for these damages in
                          27       an amount to be determined at trial.
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                               1                             Count 5: Promissory Estoppel
                               2         68.     The UnitedHealth MA Plans repeat and re-allege the allegations
                               3   contained in Paragraphs 1 to 67 above as though they are fully set forth herein.
                               4         69.     CMS clearly and unambiguously promised the UnitedHealth MA
                               5   Plans that the UnitedHealth MA Plans would not be required to conduct two-way
                               6   looks in their chart reviews.
                               7         70.     The UnitedHealth MA Plans foreseeably and reasonably relied on
                               8   CMS’s representations in preparing their bids, which would have been higher if
                               9   CMS had not promised that two-way looks would not be required.
                          10             71.     As a result of CMS’s promises, the UnitedHealth MA Plans have
                          11       suffered damages and are entitled to recover for these damages in an amount to be
                          12       determined at trial.
                          13                                       PRAYER FOR RELIEF
                          14             WHEREFORE, the UnitedHealth MA Plans request that the Amended
                          15       Complaint be dismissed with prejudice and that the relief sought in same be
                          16       denied. The UnitedHealth MA Plans further request that the counterclaims be
                          17       granted and that the Court grant the relief sought in each of the counterclaims,
                          18       costs, and disbursements of this litigation including attorney’s fees, and such other
                          19       and further relief in favor of the UnitedHealth MA Plans as this Court deems just
                          20       and proper.
                          21       Dated: March 23, 2018                  Respectfully submitted,
                          22
                                                                          LATHAM & WATKINS LLP
                          23                                              DAVID J. SCHINDLER
                          24
                                                                          DANIEL MERON
                                                                          KATHRYN H. RUEMMLER
                          25                                              ABID R. QURESHI
                          26
                                                                          By /s/ David J. Schindler
                          27                                                  David J. Schindler
                          28                                                  Attorneys for UnitedHealth Defendants
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